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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
CITY OF HOLLYWOOD                          )   Civ. No. 24-cv-1743 (JMB/DTS)
FIREFIGHTERS’ PENSION FUND,                )
Individually and on Behalf of All Others   )   CLASS ACTION
Similarly Situated,                        )
                                               REDLINED [PROPOSED]
                                           )
                           Plaintiff,          SUPPLEMENTAL CONSOLIDATED
                                           )
                                               COMPLAINT FOR VIOLATIONS OF
                                           )
         vs.                                   THE FEDERAL SECURITIES LAWS
                                           )
UNITEDHEALTH GROUP INC., et al.,           )   EXHIBIT A
                                           )
                           Defendants.     )
                                           )




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         Lead Plaintiff California Public Employees’ Retirement System (“Plaintiff” or

“CalPERS”), individually and on behalf of all others similarly situated, by Plaintiff’s

undersigned attorneys, for Plaintiff’s complaint against Defendants named herein, alleges the

following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters. Plaintiff’s allegations are based upon, inter

alia, the investigation conducted by and through Plaintiff’s attorneys, which included, among

other things, a review of Defendants’ public documents, conference calls, and

announcements made by Defendants; U.S. Securities and Exchange Commission (“SEC”)

filings; releases published by and regarding UnitedHealth Group, Inc.; analyst reports and

advisories about UnitedHealth Group, Inc.; media; statements by percipient witnesses; and

other publicly available information. Plaintiff believes that substantial additional evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for

discovery.

         OVERVIEW OF THE ACTION

         1.         This securities fraud class action is brought on behalf of purchasers of

UnitedHealth Group, Inc. common stock between September 22, 2021 and February 27,

2024, inclusive (the “Class” and “Class Period”), seeking to pursue remedies under §§10(b),

20(a), and 20A of the Securities Exchange Act of 1934 (“Exchange Act”), and SEC Rule

10b-5 promulgated thereunder (17 C.F.R. §240.10b-5) against UnitedHealth,1 two of the

Company’s senior executives, Andrew Witty Chief Executive Officer (“CEO”) of

1
   UnitedHealth Group, Inc. is referred to herein as “UnitedHealth,” “UNH,” or the
“Company.”


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UnitedHealth and Brian Thompson CEO of UnitedHealth subsidiary UnitedHealthcare, and

the Chair of the Company’s Board of Directors, Stephen Hemsley (collectively, herein

referred to as the “Defendants”).

         2.         UnitedHealth is a health insurance company that provides insurance to

individuals, employers, and small businesses. Today, its insurance arm – UnitedHealthcare –

is the largest insurance provider in the United States. In 2010, the Affordable Care Act (the

“ACA”) was enacted into law.             The ACA introduced medical loss ratio (“MLR”)

requirements that required insurers (also called “payers”) to spend a greater percentage of

premiums collected from patients on actual healthcare, rather than administrative costs or

insurer profits. The ACA placed downward pressure on UnitedHealth’s profits and the

Company immediately ramped up its vertical expansion – i.e., expanding into areas outside

of health insurance – to diversify its revenue streams and maintain its growth.

         3.         In April 2011, UnitedHealth launched a new subsidiary, Optum. Optum does

not provide insurance, but rather provides healthcare services and products through its three

businesses: Optum Health (healthcare providers), Optum Rx (prescription services), and

Optum Insight (healthcare technology products).            After launching the new brand,

UnitedHealth focused on expanding its non-insurance business in order to widen its

influence in the healthcare industry. Owning both a healthcare insurer and medical providers

positioned UnitedHealth to circumvent the ACA’s MLR restrictions. UnitedHealthcare

could collect premiums, send patients to Optum Health for treatment, and pay itself (through

Optum) for the requisite level of healthcare treatment to satisfy the MLR requirements.

Doing so allowed UnitedHealth to then retain profits on both sides of the ledger.
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         4.         From the enactment of the ACA to the start of the Class Period, UnitedHealth

spent over $60 billion expanding into the far corners of the healthcare industry and,

accordingly, establishing immense market power it could use to manipulate other

participants in the industry.

         5.         This case arises out of Defendants’ abuse of power. Defendants engaged in a

scheme and wrongful course of business which was designed to, and did, artificially inflate

the Company’s revenues, earnings, and stock price. As part of the scheme and wrongful

course of business complained of herein, Defendants formulated, implemented, and oversaw

an illegal, company-wide upcoding gambit. Defendants also misrepresented the breadth,

scope, and integrity of Optum’s existing firewall protections while concurrently concealing

Optum’s ability to circumvent those very firewall protections. Finally, Defendants used

UnitedHealth’s monopolistic dominance to engage in anti-competitive practices to

consolidate its control over healthcare services and eliminate competition.

Defendants’ Medicare Advantage “Upcoding” Scheme

         6.         Medicare Advantage is a privatized version of traditional Medicare, under

which the government pays a set fee to private insurers such as UnitedHealth to provide

insurance plans to qualifying senior citizens (“members”). The government pays a higher set

fee for Medicare Advantage patients with certain pre-existing conditions. During the Class

Period, Defendants publicly identified UnitedHealthcare’s Medicare Advantage business as

one of the Company’s “key elements of [it’s] growth strategy.” At the core of Defendants’

scheme was their carefully orchestrated plans and procedures to inflate the fees UnitedHealth



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collected from the government by deliberately “upcoding” – or adding unwarranted

diagnosis codes – across its massive member population.

         7.         Defendants’ employed several different mechanisms to effectuate their

wrongful course of business. For example, UnitedHealth induced providers to find new

diagnoses by paying bonuses to providers who upcoded. UnitedHealth trained providers to

use “‘buddy codes,’” that is adding multiple new diagnoses based upon existing ones.

UnitedHealth also purposefully leveraged its HouseCalls program, whereby the Company

would dispatch nurse practitioners to members’ homes to perform physical assessments.

Defendants also exploited the HouseCalls program by using tools designed to find diagnoses

that did not exist, including software specifically programmed to recommend lucrative

diagnoses and unreliable medical devices. Defendants used such tools even though they

were aware the tools were prone to issue false positives for lucrative conditions. Doctors and

nurses who worked for UnitedHealth during the Class Period have admitted that they added

codes they did not truly believe existed because UnitedHealth pressured them to do so.

         8.         Defendants’ upcoding scheme worked as planned. According to an analysis of

Medicare data by The Wall Street Journal (the “WSJ”), in 2021 alone, UnitedHealth received

$8.7 billion in taxpayer money for diagnosis codes that no doctor treated. The cost of

Defendants’ scheme was not solely financial; it also had real-life impact on America’s senior

citizens. Doctors around the country have described panicked calls from UnitedHealth

members who noticed alarming new diseases listed on their medical chart that their doctor

never mentioned. Former UnitedHealth physician, Dr. Susan Baumgaertel, admitted that

when she got those calls, “she always tried to tell patients the truth, as uncomfortable as it
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was: I don’t really think you have that condition, but I’m supposed to code you as having it

so that I get paid more.”

         9.         Throughout the Class Period, Defendants frequently spoke to investors about

the Company’s Medicare Advantage business and the HouseCalls program while concealing

the upcoding scheme. For example, on September 22, 2021, the first day of the Class Period,

UnitedHealth responded to questions about its coding practices by assuring investors that

“‘UnitedHealthcare’s in-home clinical care programs provide significant benefits to seniors

and for years have been valuable offerings to ensure our members continue to receive cost-

effective, appropriate care.’” Defendants continued to issue similar false and misleading

assurances throughout the Class Period.

Optum Acquires Change Healthcare and Misleads Investors About Data Firewalls

         10.        On January 6, 2021, UnitedHealth announced its largest acquisition ever:

Optum Insight would acquire Change Healthcare (“Change”), a healthcare technology

company, for $13 billion. Change operated a clearinghouse that acted as the “pipes” of the

healthcare industry, processing health insurance claims and moving data from entity to

entity. According to a UnitedHealth estimate, more than half of American medical insurance

claims “pass through (or touch)” Change’s systems. Internally, UnitedHealth’s then-CEO,

David Wichmann, lauded the acquisition because it granted UnitedHealth access to the

Change data, calling that access the “‘foundation’” of the deal. Indeed, the Change

acquisition gave UnitedHealth access to critical competitor information, including pricing

structures, claims data, and billing practices.



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         11.        Industry groups, however, responded differently, immediately questioning the

propriety of the deal, citing serious antitrust concerns.           On February 24, 2022, the

Department of Justice (the “DOJ”) sued to block the Change acquisition on antitrust grounds,

arguing UnitedHealth would gain access to sensitive data that it could wield against its

competitors. UnitedHealth immediately refuted the DOJ’s allegations and assured investors

that Optum possessed “best-in-class firewalls and compliance programs that maintain the

integrity of our customers’ data and information.” Throughout the Class Period, Defendants

repeatedly made similar assurances, insisting that UnitedHealth had “internal firewalls that

prevent the sharing of competitively sensitive information across business units.”

Ultimately, UnitedHealth’s assurances won the day. The U.S. District Court for the District

of Columbia decided in Optum’s favor, expressly crediting UnitedHealth’s purported history

of maintaining data firewalls.

         12.        The firewalls UnitedHealth described to the court and the public were illusory

– they simply did not exist. In truth, Optum’s business applications share data with other

Optum business applications. And what they did not do is prohibit Optum from using

external customer data to benefit those Optum businesses competing with external

customers. The lack of firewalls and lax security also ultimately led to the largest security

breach in the history of the United States healthcare system, which hackers achieved simply

by acquiring a working username and password.




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UnitedHealth Receives Notice of a Nonpublic DOJ Investigation and UnitedHealth
Executives Respond by Selling More than $100 Million of Their Own UnitedHealth
Shares

         13.        On October 10, 2023, UnitedHealth received notice that the DOJ had launched

a “‘non-public antitrust investigation into the company.’”           Concealing this material

information from investors and the public, UnitedHealth chairman Stephen J. Hemsley and

several other senior executives immediately took action – selling more than $100 million of

their own UnitedHealth stock at artificially inflated prices as the market and other investors

remained unaware of the new federal antitrust investigation.

The Relevant Truth Leaks Out

         14.        On February 27, 2024, the WSJ reported that the DOJ was conducting an

antitrust investigation into UnitedHealth. According to the WSJ, the DOJ’s investigation

centered around, among other things, “[m]edicare billing issues, including the Company’s

practices around documenting patients’ illnesses,” as well as issues relating to other anti-

competitive practices at Optum and UnitedHealthcare. News of the DOJ investigation was

severely troubling to investors, with industry analysts subsequently expressing concern that

the DOJ investigation would expose “UnitedHealth’s M[edicare] A[dvantage] risk coding

practices” that “‘make your M[edicare] A[dvantage] beneficiaries look sicker than they

really are’” in order to “‘make more money,’” that UnitedHealth’s “‘firewall has a lot of

holes in it,’” and that “ownership of physician and health-plan units affects competition.” In

response to those revelations, the price of UnitedHealth stock declined over $27 per share,

falling from $525.32 per share on February 26, 2024 to $498.28 on February 28, 2024.



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U.S. Lawmakers Take Notice and Demand Further Action

         15.        UnitedHealth’s anti-competitive practices have garnered intense government

scrutiny, including Congressional hearings. In a rare case of bipartisanship, lawmakers from

both sides of the aisle demanded intervention. For example, Senator Elizabeth Warren (D-

Ma.) stated: “Because UnitedHealth has bought up every link in the healthcare chain, it’s in a

position to jack up prices, squeeze competitors, hide revenues, and pressure doctors to put

profits ahead of patients. UnitedHealth is a monopoly on steroids,” while Republican

Representative Buddy Carter (R-Ga.) bluntly agreed that UnitedHealth “‘needs to be busted

up.’”

         16.        Based on the highly suspicious stock sales by Hemsley and others, Senator

Warren and 16 other lawmakers sent a letter urging the SEC to open an insider trading

investigation. The lawmakers said “these trades reveal a disturbing fact pattern,” particularly

since they came during a DOJ investigation, when such trades should have been prohibited.

An Office of Inspector General Report and Whistle-Blower Media Reports Confirm
the Fraudulent Upcoding Scheme

         17.        In July and, August and October 2024, UnitedHealth’s fraudulent upcoding

scheme was confirmed in a series of bombshell investigative reports published by the WSJ

and STAT News.2 Over the course of foursix investigative reports – fortified by numerous


2
   See Christopher Weaver et al., Insurers Pocketed $50 Billion From Medicare for
Diseases No Doctor Treated, Wall St. J. (July 8, 2024); Anna Wilde Mathews et al., The
One-Hour Nurse Visits That Let Insurers Collect $15 Billion From Medicare, Wall St. J.
(Aug. 4, 2024); Bob Herman et al., How UnitedHealth harnesses its physician empire to
squeeze profits out of patients, STAT News (July 25, 2024); Casey Ross et al., How
UnitedHealth turned a questionable artery-screening program into a gold mine, STAT News              Formatted: Font: Not Italic

(Aug. 7, 2024).); Tara Bannow et al., Inside UnitedHealth’s strategy to pressure physicians:

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whistleblower accounts from former UnitedHealth employees – journalists detailed how

Defendants exploited the HouseCalls visits and pressured doctors and nurse practitioners to

manipulate diagnosis codes, securing for themselves billions of dollars of inflated and

unsupported payments.

         18.        On October 24, 2024, the Office of Inspector General (“OIG”) released a new

report titled: “Medicare Advantage: Questionable Use of Health Risk Assessments Continues

To Drive Up Payments to Plans by Billions.”3 The government watchdog found that

UnitedHealth reaped $3.2 billion in extra federal payments in 2023 for diagnoses from in-

home health risk assessments (“HRAs”) and HRA-linked chart reviews. According to the

report, UnitedHealth accepted these payments even though the patients did not receive any

additional treatment or medical services following the new diagnoses. “One top MA

company, UnitedHealth Group, Inc., stood out from its peers, especially in its use of in-home

HRAs and HRA-linked chart reviews to generate risk-adjusted payments,” the OIG report

noted.

         18.19. Throughout the Class Period, UnitedHealth leveraged its monopolistic power

to crush competition, manipulate government officials, and force others in the healthcare

industry to cede to its demands. In the process, UnitedHealth unlawfully obtained billions of

dollars of revenue from the federal government, healthcare providers, and its own members.


$10,000 bonuses and a doctor leaderboard, STAT News (Oct. 16, 2024); Christopher
Weaver et al., Medicare Paid Insurers Billions for Questionable Home Diagnoses, Watchdog
Finds, Wall St. J. (Oct. 24, 2024). The foursix reports are attached as Exhibits 1-46.
3
    The October 24, 2024 OIG report is attached hereto as Exhibit 10.


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When investors learned the truth, the inflation in the price of UnitedHealth’s stock

dissipated.

         JURISDICTION AND VENUE

         19.20. The claims asserted herein arise under and pursuant to §§10(b), 20(a), and 20A

of the Exchange Act (15 U.S.C. §§78j(b) and 78t(a)), and SEC Rule 10b-5(a)-(c)

promulgated thereunder (17 C.F.R. §240.10b-5). This Court has jurisdiction over the subject

matter of this action pursuant to 28 U.S.C. §1331 and §27 of the Exchange Act.

         20.21. Venue is proper in this district pursuant to 28 U.S.C. §1391(b) and §27 of the

Exchange Act. Substantial acts in furtherance of the alleged fraud or the effects of the fraud

have occurred in this District. Many of the acts charged herein, including the dissemination

of materially false and/or misleading information, occurred in substantial part in this District.

In addition, the Company’s principal executive offices are located in this District.

         21.22. In connection with the acts, transactions, and conduct alleged herein,

Defendants directly and indirectly used the means and instrumentalities of interstate

commerce, including the U.S. mail, interstate telephone communications, and the facilities of

a national securities exchange.

         THE PARTIES

                    Plaintiff

         22.23. Lead Plaintiff California Public Employees’ Retirement System is the largest

state public pension fund in the United States, with more than 2 million members and more

than $500 billion in assets under management. CalPERS purchased UnitedHealth common



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stock during the Class Period, as set forth in the Certification attached hereto as Ex. 57, and

was damaged thereby.

                    Defendants

         23.24. Defendant UnitedHealth Group, Inc. is a publicly-traded healthcare company

incorporated in Delaware and headquartered at 9900 Bren Road East, Minnetonka,

Minnesota 55343. UnitedHealth owns an insurance business, UnitedHealthcare, as well as a

medical services provider and technology business, Optum. UnitedHealth is one of the

largest corporations in the world, with a 2023 revenue of $371.6 billion. During the Class

Period, UnitedHealth traded on the New York Stock Exchange under the ticker UNH.

         24.25. Defendant Andrew Witty has been CEO of UnitedHealth and on

UnitedHealth’s Board of Directors (the “Board”) since February 3, 2021. Until his

appointment as CEO and Director, Witty was the Executive Vice President of UnitedHealth

and CEO of Optum from March 2018. Prior to his appointment as Optum CEO in March

2018, Witty served as an Independent Director on the UnitedHealth Board. In these roles,

Witty oversaw UnitedHealth and Optum’s operations. During the Class Period, Witty spoke

often about the HouseCalls program calling it “a true collaboration between Optum and

UnitedHealthcare,” and also spoke on UnitedHealth’s commitment to maintaining a data

firewall between Optum and UnitedHealthcare. He signed each of the Company’s Forms 10-

Q and Forms 10-K during his time as CEO.

         25.26. Defendant Stephen Hemsley has been the Chair of UnitedHealth’s Board of

Directors since September 1, 2017. He has been a Director since 2000. Hemsley also served

as CEO of the Company from September 2017 through November 2019. In 2021 and 2022,

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Hemsley sat on the Board’s Health and Clinical Practice Policies Committee, which is

responsible for “oversight of management’s initiatives to improve health care affordability.”

During the Class Period, Hemsley sold more than 21% of his UnitedHealth shares for

proceeds of over $211 million.

         26.27. Defendant Brian Thompson has been the CEO of UnitedHealthcare,

UnitedHealth’s insurance business, since April 7, 2021. Thompson has held numerous

leadership positions at the Company since he started work in April 2004, with a primary

focus on the financial side of the Medicare business. From July 2019 to April 2021,

Thompson was CEO of UnitedHealthcare, Government Programs. In this role, he oversaw

the UnitedHealthcare Medicare & Retirement division, a business arm focused on the

Company’s coverage of Medicare members. From April 2017 to July 2019, he was CEO of

UnitedHealthcare Medicare & Retirement. Prior to that, from December 2012 until April

2017, Thompson was the Chief Financial Officer (“CFO”) of UnitedHealthcare, Medicare &

Retirement.         During the Class Period, Thompson spoke to investors regarding the

HouseCalls program and sold over 31% of his UnitedHealth shares for proceeds of over $15

million.

         27.28. Defendants Witty, Hemsley, and Thompson are hereinafter referred to as the

“Individual Defendants.” The Individual Defendants made, or caused to be made, false or

misleading statements that caused the price of UnitedHealth common stock to be artificially

inflated or maintained artificial inflation in UnitedHealth’s common stock during the Class

Period. Each of the Individual Defendants was directly involved in the management and

day-to-day operations of the Company and was privy to confidential, proprietary information
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concerning the Company and its businesses, operations, services, competition, and present

and future business prospects.

         DEFENDANTS’ IMPROPER ANTI-COMPETITIVE PRACTICES
         AND WRONGFUL COURSE OF BUSINESS

                    Corporate Overview

         28.29. UnitedHealth was founded in 1977 in Minneapolis, Minnesota to purchase a

small health maintenance organization (“HMO”) service company called Charter Med

Incorporated. UnitedHealth soon began acquiring and managing HMOs, and operating as a

medical insurance company. It has since grown to become the largest health insurer in the

United States and one of the largest corporations in the world, with 2023 revenue just shy of

$372 billion.

         29.30. UnitedHealth is comprised of two business platforms, UnitedHealthcare and

Optum. UnitedHealthcare is the insurance arm of UnitedHealth, offering employer-based

and individual insurance plans and providing private health insurance to more than 35

million members in over 150 countries as of December 31, 2023. UnitedHealthcare also

provides insurance to Medicare-eligible members through its Medicare Advantage program.

         30.31. Optum is UnitedHealth’s healthcare services arm, which provides a variety of

products and services across the healthcare industry. Optum is divided into three separate

businesses. Optum Health houses the healthcare provider business, delivering primary care,

specialty care, urgent care, and surgery directly to patients in hospitals, in their homes, and

virtually, serving more than 103 million consumers. Optum Rx is a pharmacy benefit

manager (“PBM”), providing pharmaceutical services to patients through a network of more

than 65,000 retail pharmacies. Optum Insight houses businesses with tools to service the
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healthcare industry in the areas of data analytics, technology, and operations, largely focused

on facilitating healthcare administration.

                      UnitedHealth Became an Industry Behemoth Through
                      Strategic Acquisitions

         31.32. Shortly after its founding, UnitedHealth started making aggressive moves to

increase its size and influence in the healthcare industry. First, it expanded horizontally,

purchasing over 20 other HMOs and insurance providers throughout the 1980’s, 1990’s, and

2000’s. In addition to this horizontal expansion in the health insurance field, UnitedHealth

also expanded vertically, acquiring healthcare companies with other specialties, including

financial companies, software companies, and PBMs.

                      The Balanced Budget Act Privatized Medicare

         32.33. In 1997, Congress enacted the Balanced Budget Act (“BBA”), which

revamped the Medicare system and allowed many traditional government functions to

transfer to the private sector. Medicare is a federally-run health insurance program

administered by Centers for Medicare & Medicaid Services (“CMS”) for individuals who are

65 and older or disabled. Under the traditional Medicare program, there are two parts: Part

A and Part B. Part A covers inpatient and institutional care, while physician visits,

outpatient services, and durable medical equipment are covered under Part B. CMS

reimburses hospitals and physicians’ offices directly using a “fee-for-service system.” After

the medical services are provided, a claim is submitted to CMS for payment. CMS then pays

the claim directly to the healthcare provider based on payment rates established by CMS.

         33.34. Under the BBA, Congress also created Medicare Part C, known as the

Medicare Advantage program. Under this program, individuals can choose to receive their
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Medicare-covered benefits (Parts A and B) from private insurance plans (Medicare

Advantage Plans (“MA Plans”). Unlike traditional Medicare’s fee-for-service model,

insurers that offer MA Plans get paid a flat fee for each individual based on his or her health

risks. The private insurance company then covers that patient’s care according to the terms

of his or her MA Plan.

         34.35. MA Plans were designed, at least in part, to minimize the administrative

burden on the government. Congress also believed that the private sector could provide

healthcare more economically, ultimately keeping members healthier and saving taxpayers

money.4

                      The Affordable Care Act Sought to Limit the Profits and
                      Power of Private Insurers

         35.36. In 2010, Congress enacted the Affordable Care Act (the ACA), a healthcare

reform law backed by the Obama administration and designed to provide healthcare to a

larger proportion of the United States population, promote efficient use of healthcare dollars,

and improve patient care. To that end, the ACA introduced significant changes designed to

reduce costs and make healthcare more accessible.

         36.37. The ACA implemented medical loss ratio (MLR) requirements, which require

insurance companies to spend a certain portion of the premiums they receive from patients

on actual patient care, rather than administrative costs and profit. Large group plans have a

MLR of 85%, and smaller group plans have a MLR of 80%. MA Plans are also subject to



4
    See 42 U.S.C. §1395c et seq.


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the ACA limits, and have a MLR of 85%. If a company spends less than the MLR on patient

care, it has to pay a rebate to the Centers for Medicare & Medicaid Services (CMS).

                      UnitedHealth Identifies a Loophole in the Affordable
                      Care Act and Expands Further

         37.38. In April 2011, UnitedHealth created Optum (and its segments Optum Health,

Optum Rx, and Optum Insight), to house its non-insurance businesses.5

         38.39. UnitedHealth soon recognized that Optum Health, the healthcare provider

segment, allowed the Company to blur the lines between payer and provider, evading the

constraints of the ACA’s MLR rules. UnitedHealth could simply hire its own affiliate – via

Optum Health – to provide medical care to members. Thus, UnitedHealth could increase

payments to Optum Health in order to hit the minimum MLR level, and pocket outsized

profits the ACA was designed to remove.

         39.40. Christopher Whaley, a health-care economist at Brown University, explained

in an April 30, 2024 Washington Post article that Optum Health allowed UnitedHealth to

“‘acquire providers and essentially pay [it]self.’” He expressed concern that the arrangement

“‘provides a disincentive to really care that much about prices and spending growth.’”

         40.41. Soon after the enactment of the ACA, UnitedHealth accelerated Optum

Health’s expansion (and UnitedHealth’s vertical expansion in the provider space). Optum

acquired several provider groups in the years between the enactment of the ACA and the end

of the Class Period, including primary care practices, specialty clinics, and even a few

hospitals. For example, in December 2017, UnitedHealth announced that Optum would

5
    Occasionally referred to as OptumHealth, OptumRx, and OptumInsight.


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acquire DaVita Medical Group (which was itself a Fortune 500 company and the nation’s

largest provider of kidney care) for $4.34 billion. And in March 2022, UnitedHealth

announced that Optum would acquire LHC Group for $5.4 billion. At the time, LHC Group

was a massive healthcare provider with a focus on at-home healthcare, with 960 locations in

37 states. Earlier this year, UnitedHealth attempted to buy another home-health company,

Amedisys, for $3.7 billion. The DOJ is currently reviewing that transaction for antitrust

violations.         Through these transactions, Optum has become the largest employer of

physicians in America, boasting relationships with 90,000 physicians across the country, or

10% of all physicians in America. The following graphic represents UnitedHealth’s provider

acquisitions since enactment of the ACA:




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         41.42. As Optum grew to become the predominant healthcare provider, UnitedHealth

leveraged Optum’s power to thwart competition. The Company’s control over a significant

percentage of America’s medical service providers allowed it to favor Optum-owned

physician groups when creating insurance contracts, leaving its provider rivals with less

desirable terms. Conversely, Optum was positioned to disadvantage its insurer rivals by

preventing Optum-affiliated providers from working with insurance companies other than

UnitedHealthcare.      Indeed, Optum targeted providers in rural areas where the local

population had little choice about which provider to use, and thus had to sign up for

whatever insurance company the provider contracted with.

         42.43. UnitedHealth also spent billions on its vertical expansion, acquiring other

healthcare-related businesses. For example, in July 2015, UnitedHealth acquired Catamaran

Corporation, a PBM, through Optum Rx, for $12.8 billion.                In September 2019,

UnitedHealth announced that Optum Insight acquired Equian, LLC, which owns a medical

billing tool, for $3.2 billion.

         43.44. Perhaps the most dramatic acquisition came in January 2021 when Optum

Insight announced it was purchasing Change, for $13 billion. Change was the largest

provider of prescription processing services in the United States, acting as a clearinghouse

for medical transactions. Change acted as the “pipes” for the healthcare industry as a whole,

handling more than 15 billion healthcare transactions worth more than $1.5 trillion each

year. By the nature of its business, Change stores highly sensitive health information from

millions of patients. It also houses valuable data from UnitedHealth’s rivals at every level of

the healthcare system. After the transaction, UnitedHealth had access to critical competitor
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information, including information that demonstrated their pricing structures, claims

processing procedures, and billing practices. The acquisition of Change also positioned

UnitedHealth to use this information in anticompetitive ways, such as creating insurance

plans with hypercompetitive terms, and negotiating contracts with full visibility into the

terms its counterparty had reached with UnitedHealth’s competitors. For this reason, the

DOJ sued to block the Change acquisition on antitrust grounds.

         44.45. UnitedHealth’s massive expansion into the far corners of the healthcare

industry positioned it to manipulate the system through intracompany dealings. Just over the

last decade, UnitedHealth has spent $60 billion on acquisitions.           Kaufman, Hall &

Associates, LLC, a prominent healthcare advisor and advocacy group, reported on March 15,

2024 that Optum as a whole “earned $88B of consolidated revenue” in 2023, but captured

“an additional $136B of revenue from its insurance arm [that] was redirected into its Optum

businesses in the form of intercompany eliminations.” The report explained that “payments

from UnitedHealthcare to Optum allow UHG to retain profit-capped insurance revenue by

shifting it to other divisions, driving increased profitability for the overall enterprise.” It

noted Optum Health’s growth in particular, which “increased its earnings over eightfold

since 2014, consistently earning the majority of its revenue from UHG’s insurance arm.”

         45.46. By the start of the Class Period, UnitedHealth had grown to become the largest

healthcare company of all time, and the eleventh largest company overall in the world by

revenue, with 2023 revenue of almost $372 billion. Operating independently of the

UnitedHealth umbrella, Optum itself would be a Fortune 50 company.



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                    UnitedHealth’s Fraudulent Upcoding Scheme Extracted Billions
                    of Dollars in Taxpayer-Funded Payments

                          Overview of the Medicare Advantage Program

         46.47. As detailed above, the Medicare Advantage program, or Medicare Part C,

empowers UnitedHealth and other insurance companies to provide insurance to Americans

through government programs using MA Plans. CMS provides that private insurers which

offer MA Plans using a capitated payment system receive a flat rate for each member.

Additionally, there is a risk adjustment feature, which adjusts payments to MA Plans based

on the health status of members, thereby allowing MA Plans to receive higher payments for

sicker or more complex members.

         47.48. Under the Medicare Advantage risk-adjustment feature, CMS adjusts the

monthly capitated payments to account for various “risk” factors that impact a member’s

expected health expenditures. CMS collects “risk adjustment” data (medical diagnosis

codes) from the MA Plans to make these payment adjustments. A diagnosis code must

satisfy the following criteria to be eligible for risk adjustment: (1) documented in an

approved medical record during the prior year; and (2) documented as a result of a face-to-

face visit between the member and a healthcare provider.

         48.49. CMS then calculates a “risk score” for each member enrolled in a MA Plan

which determines the payment for that member. This process ensures that MA Plans are

paid more for those member expected to incur higher healthcare costs and less for the

healthier member expected to incur lower costs. For example, assume that a base yearly

payment for a hypothetical Medicare member is $10,000. If a metastatic cancer and

leukemia diagnosis code is added then this would increase the member’s “risk score” and
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would result in CMS paying the MA Plan $20,700 more in risk-adjusted payments for the

member in that year.

         49.50. This payment process is prospective. The “risk score” is calculated for each

member anew for each payment year based on the diagnosis codes from the immediately

preceding year. CMS relies on the MA Plans and their contracted providers, including

hospitals and physicians, to accurately document and submit the diagnosis codes to CMS.

CMS requires the MA Plans to submit annual attestations to CMS about the validity of these

diagnosis codes. The submission of such attestation is a condition of payment under CMS’

regulations.

         50.51. Under the Medicare Advantage program, MA Plans are allowed to use health

risk assessments and retrospective chart reviews to collect, and submit to CMS, additional

diagnoses for risk-adjusted payments that may not have been captured through standard

clinical visits. Health risk assessments can occur as part of a member’s annual wellness visit

or may be conducted at a member’s home by the MA Plan.

         51.52. Chart reviews can also be used by MA Plans to identify diagnoses that lead to

higher risk-adjusted payments. In a chart review, the MA Plan examines medical records to

identify any diagnoses that may not have been previously reported or coded during standard

clinical visits. This retrospective review often involves examining physician notes, test

results, and other documentation to ensure that relevant health conditions are captured.

Based on these chart reviews, MA Plans can submit additional diagnoses to CMS, potentially

increasing the risk scores for members and, consequently, the risk-adjusted payments they

receive from CMS.
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         52.53. The members UnitedHealth has enrolled in the Medicare Advantage program

grew from 4.9 million in 2018 to 7.7 million in 2023, as shown in the following chart:




                     UnitedHealth Used Health Risk Assessments from In-
                     Home Visits to Perpetrate Its Upcoding Scheme

         53.54. Before and during the Class Period, Defendants leveraged UnitedHealth’s

home-visit program, known as HouseCalls, to conduct health risk assessments as a key part

of Defendants’ upcoding scheme. Defendants exploited these HouseCalls visits and

manipulated the Medicare Advantage program in order to inflate the risk-adjusted payments

UnitedHealth obtained from CMS and thereby divert billions of dollars to UnitedHealth in

improper risk-adjusted taxpayer-funded payments.

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         54.55. HouseCalls is a unit of UnitedHealth’s insurance business, UnitedHealthcare.

HouseCalls dispatches nurse practitioners (“HouseCalls nurses” or “nurse practitioners”) to

members’ homes for visits that are supposed to last 45 to 60 minutes, with the stated goal of

identifying “gaps in care.” To increase and reward member participation, UnitedHealth

encourages members to participate in the in-home visits using gift cards and other incentives.

         55.56. The HouseCalls visits are limited in scope. While the HouseCalls nurses can

record new diagnoses, they are prohibited from providing any direct medical treatment or

care, writing prescriptions, ordering diagnostic tests, or referring members to specialists for

further medical attention. Their primary task is to complete a lengthy online questionnaire,

which includes a checklist of potential diagnoses for them to make. But the HouseCalls

nurses do not have the necessary equipment to diagnose serious or complex medical

conditions, making the validity of these in-home visits questionable, especially for

UnitedHealth members with potentially undiagnosed health issues requiring thorough

clinical assessment.

         56.57. The in-home visits are focused on ensuring that a member’s health status is

documented, versus any hands on care. UnitedHealth provides mandatory training sessions

and guidelines for the nurse practitioners performing the HouseCalls visits that focus on how

to conduct the in-home visits, make new diagnoses, and record any such diagnosis. The

training sessions make clear to the nurse practitioners that they need to get as many

diagnoses as they can during the in-home visits.

         57.58. UnitedHealth sets productivity targets for the number of HouseCalls visits

nurse practitioners are expected to complete each day, directly linking compensation to the
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volume of in-home visits completed within a week. HouseCalls nurses are evaluated on the

thoroughness of these visits, creating additional pressure on them to find new diagnoses. As

detailed below, during the Class Period HouseCalls nurses were instructed to conduct

unnecessary and unreliable tests during these visits, which were prone to generate false-

positives that would support valuable diagnoses. They were further pressured to identify

high-value medical conditions that were not present in members’ medical records and to

change diagnosis codes to include more lucrative ones.

         58.59. By 2021, the Company’s HouseCalls visits increased to 2.1 million visits per

year and continued to increase throughout the Class Period, as shown in the following chart:




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                      a.     HouseCalls Nurses Were Instructed and Pressured
                             to Add Unsupported Diagnosis Codes During
                             In-Home Visits

         59.60. Before and during the Class Period, UnitedHealth instructed and pressured

HouseCalls nurses to inflate the number of diagnoses reported during HouseCalls visits.

During HouseCalls visits, nurses practitioners were required to use a Company-issued laptop

with pre-loaded software calibrated to maximize the number of diagnoses for additional

payment. Rather than being a neutral tool for a thorough health risk assessment, the software

suggested potential diagnoses based on members’ medications and responses that pushed

HouseCalls nurses toward making as many medical determinations as possible. The

software was designed by UnitedHealth to ensure that nurse practitioners follow a

predetermined path of diagnosis generation that inflated risk scores in order to maximize the

Company’s revenue from the Medicare Advantage program.

         60.61. A July 8, 2024 report in the WSJ titled: “Insurers Pocketed $50 Billion From

Medicare for Diseases No Doctor Treated,” confirmed that the installed HouseCalls software

suggested “what illnesses a patient might have and even adds some automatically to a

‘diagnosis cart.’” On August 4, 2024, the WSJ published another report titled: “The One-

Hour Nurse Visits That Let Insurers Collect $15 Billion From Medicare,” which described

how the HouseCalls software prodded nurses to add diagnoses. For example, the HouseCalls

software was designed to and did encourage diagnoses of secondary hyperaldosteronism

(elevated levels of the hormone aldosterone), a rarely diagnosed condition. The HouseCalls

software suggested the diagnosis if a member had a history of heart failure or cirrhosis even

though the nurse practitioners were not required to confirm the diagnosis with a lab test.

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The August 4, 2024 WSJ report quoted former HouseCalls nurse practitioner as stating: “‘In

a million years, I wouldn’t have come up with a diagnosis of secondary

hyperaldosteronism.’”

         61.62. Based on an analysis of Medicare data, the WSJ found that from 2019 to 2021,

UnitedHealth diagnosed secondary hyperaldosteronism 246,000 times after in-home visits,

leading to $450 million in payments while all other MA Plans combined were paid less

than 1/10th of that amount, or $42 million, from making the same diagnosis during this time

period, as illustrated in the following chart:




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         62.63. During the Class Period, HouseCalls nurses were also pressured to upcode

during internal reviews of the online questionnaires they filled out during in-home visits.

Reviewers from UnitedHealth’s quality assurance team (“reviewers”) examined the

questionnaires to ensure that HouseCalls nurses had maximized all available high-value

diagnosis codes. During this review process, reviewers pressured HouseCalls nurses to

identify and add new diagnosis codes that the nurses themselves had not previously

identified. Specifically, HouseCalls nurses were pressured to link reported symptoms to

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previously diagnosed chronic conditions. For instance, nurse practitioners were told that

every time a member reported neuropathy at an in-home visit and had a previous diabetes

diagnosis, they were required to diagnose the neuropathy as diabetic neuropathy, even

though that might not be the case. Similarly, reviewers pressured HouseCalls nurses to add

new diagnoses for immune suppression disorders in cases where members were prescribed

medications for chronic conditions known to potentially cause immune suppression,

regardless of whether the member actually experienced immune suppression. Nurse

practitioners were terminated for not following reviewers’ instructions.

         63.64. The July 8, 2024 WSJ report stated that UnitedHealth used its HouseCalls

program to inflate diagnoses by also including conditions that members were not treated for,

contradicted their doctors’ assessments, or were simply incorrect. For example, in 2022,

Gloria Lee, a 70-year-old retired accountant and a former UnitedHealth MA Plan member,

was offered a $50 gift card if she would allow a nurse practitioner to come to her home for a

HouseCalls visit. Ms. Lee stated that the visit lasted for approximately 20 minutes and the

HouseCalls nurse concluded that Ms. Lee had minor cataracts caused by diabetes severe

enough to cause nerve damage. Ms. Lee’s primary care physician, Dr. Nancy Keating, also a

professor at Harvard Medical School, however, confirmed that Ms. Lee “never had diabetes,

let alone complications like diabetic cataracts or nerve damage – a conclusion confirmed by

subsequent blood tests.” Dr. Keating commented on the practice of upcoding, stating: “‘It’s

all just so wrong.’” Ms. Lee agreed, stating: “‘If they’re going to come out and diagnose

people with things they don’t have, they shouldn’t get any more money.’”



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         64.65. The August 4, 2024 WSJ report stated that between 2019 and 2021,

UnitedHealth received $10.7 billion from in-home visit diagnoses. The report also stated

that UnitedHealth had the highest average payments among other Medicare Advantage

insurers of $2,735 for in-home diagnoses per visit from 2019 to 2021. UnitedHealth’s

inflated payments are illustrated in the following chart:




         66.        In October 2024, the OIG issued a new report titled “Medicare Advantage:

Questionable Use of Health Risk Assessments Continues To Drive Up Payments to Plans by

Billions,” confirming UnitedHealth’s persistent manipulation of the Medicare Advantage

payment system during the Class Period. The October 2024 OIG report found that $4.8

billion in risk-adjusted payments made to MA plans in 2023 resulted from diagnoses

reported only on in-home health risk assessments (“HRA”) and HRA-linked chart reviews,

and that UnitedHealth alone generated $3.2 billion, or two-thirds, of these payments, while

covering only 28% of Medicare Advantage members.                The report also found that

UnitedHealth was responsible for generating more than half of the payments made to 77
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Medicare Advantage plans in 2023 where the payments were tied solely to a single in-home

HRA and no other service or treatment record.

         67.        Based on these findings, the OIG expressed concern that “either: (1) the

diagnoses are inaccurate and thus the payments are improper or (2) enrollees did not receive

needed care for serious conditions reported only on HRAs or HRA-linked chart reviews.”

The OIG report also expressed concern about UnitedHealth’s practice of using their own

doctors to conduct in-home HRAs, rather than using the patients’ primary care provider in a

clinical setting. The OIG report stated: “By adding diagnoses to an in-home [health risk

assessment] via a chart review without also implementing best practices for care

coordination, MA companies [including UnitedHealth] may further circumvent the provider-

enrollee relationships that ensure high-quality coordination of care.”

         68.        As a result of its findings, the OIG recommended for the first time that CMS

restrict or even cut off payments to MA plans like UnitedHealth for diagnoses from in-home

visits and linked chart reviews.

                          b.     HouseCalls Nurses Were Required to Use
                                 Unreliable Medical Devices that Caused False
                                 Positive Diagnoses

         65.69. Before and during the Class Period, UnitedHealth required HouseCalls nurses

to use a medical device called QuantaFlo to diagnose and upcode peripheral artery disease.

HouseCalls nurses were forced to use QuantaFlo as a mechanism to generate revenue

without regard to medical necessity as the device was not indicated by the Food and Drug

Administration (“FDA”) for use as a stand-alone diagnostic device and medical guidelines

actually recommended against widespread screening for peripheral artery disease.

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Nonetheless, the HouseCalls training manual required nurse practitioners to diagnose

peripheral artery disease based on the results from QuantaFlo alone.

         66.70. Reports published after the Class Period confirm the Company’s peripheral

artery disease upcoding scheme. For instance, the August 4, 2024 WSJ report stated that

Shelley Manke, a nurse practitioner previously employed by UnitedHealth, was required to

use QuantaFlo during her in-home visits. The WSJ confirmed that UnitedHealth was

checking for cases of peripheral artery disease because each new case would result in an

additional payment of approximately $2,500 per year. After Ms. Manke tried the device on

herself and received mixed results, she and other nurses raised concerns to UnitedHealth

management but were told they needed to keep using the device. The report stated that Ms.

Manke said it “‘made me cringe’” because she did not believe they should be making such a

diagnosis when they did not have an adequate test.

         67.71. Similarly, the August 4, 2024 WSJ report stated that Dr. Amy Chappell, a 73-

year-old neurologist and UnitedHealthcare member, was surprised when UnitedHealth sent a

nurse to her house and the nurse pulled out the QuantaFlo device. Dr. Chappell is an avid

runner and tennis player and the nurse should not have had any reason to believe that Dr.

Chappell had peripheral artery disease. The report explained that according to the device,

Dr. Chappell tested positive although the nurse did not do any other exam to check for

symptoms of the disease. Her primary care physician subsequently confirmed that diagnosis

was inaccurate. UnitedHealth later admitted that Dr. Chappell’s diagnosis was improper.

         68.72. As illustrated in the following chart, the August 4, 2024 WSJ report found that

UnitedHealth diagnosed this condition 568,000 times after in-home visits between 2019 and
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2021, yielding $1.4 billion in payments while all other MA Plans combined were paid $446

million from making the same diagnosis during this time period:




         69.73. On August 7, 2024, STAT News published an investigative report titled: “How

UnitedHealth turned a questionable artery-screening program into a gold mine,” which

further confirmed Defendants’ upcoding scheme. The report stated that after the worst of the

COVID-19 pandemic was over, UnitedHealth-owned clinics were directed by the Company

to use QuantaFlo on Medicare Advantage members because “it will not only identify

undiagnosed peripheral artery disease, but also increase patients’ risk scores,” which in turn

would allow UnitedHealth to “tap into a sea of revenue.” Each diagnosis of peripheral artery

disease was worth approximately $3,600 in additional payments from CMS per year.

         70.74. According to the report, the clinics pushed back on the practice of screening

asymptomatic members, especially using only the unreliable QuantaFlo test. Nevertheless,


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the Company still forced the clinics to adhere to a UnitedHealth-controlled schedule to

conduct the testing. The QuantaFlo testing was delegated to HouseCalls nurses, yet they

were not allowed to offer clinical advice when patients received their results.

         71.75. According to five doctors from UnitedHealth-owned clinics, “[s]ome of the

QuantaFlo diagnoses were nearly useless.” The report stated that doctors were concerned

that patients with false or exaggerated diagnoses would receive unnecessary treatments.

According to Dr. Michael Good, a physician formerly employed by a UnitedHealth-owned

clinic, he and fellow doctors would receive agonizing calls from their patients, Dr. Good

stated: “‘They’d call up and say, what does this mean that I have peripheral artery disease?

What is this all about? Why didn’t you ever tell me about this?’”

         72.76. The August 7, 2024 STAT News report also stated that provider offices had

received anxious calls from members who received abnormal QuantaFlo test results through

the HouseCalls program since 2022. For example, the report stated that Kristine Lane, a

physician’s assistant at The Vascular Experts, a chain of vascular offices in Connecticut,

stated that several patients were calling to ask for immediate appointments because they were

worried about losing a leg without treatment. Ms. Lane also reported to STAT News that The

Vascular Experts “conducted an ultrasound on these patients to scan their lower extremities

for signs of restricted blood flow. She couldn’t recall a single follow-up test that found

evidence of the disease. “‘They’ll come in with an extremely abnormal QuantaFlo number,

and then on real testing – more elaborate testing – they’re not abnormal at all,’ she said.”

         73.77. The STAT News report also stated that the “same pattern unfolded at a nearby

vascular clinic at Hartford HealthCare, to the point where clinical staff stopped ordering
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normal follow-up testing because so many QuantaFlo patients were falsely positive.” Dr.

Ray Antonelli, a family physician in North Carolina, saw about three or four patients a week

who had been falsely diagnosed during a HouseCalls in-home visit. Dr. Foluso Fakorede, a

Mississippi cardiologist and leader in peripheral artery disease treatment, stated that he has

also seen an increase in QuantaFlo members to his office, and typically ignores the results

when they have normal pulses and have no risk factors.

         74.78. In 2024, CMS finally eliminated the diagnosis code for peripheral artery

disease (vascular disease) without complications. This action was supported by 19 former

CMS officials, physicians, and policy experts who had sent a letter to CMS supporting this

reform, stating: “It is well-known that [MA Plans] maximize the vascular disease . . . by

sending staff into MA patients homes with digital diagnostic devices to try and find the

slightest hint of sclerosis with little or no clinical relevance.”6

                      Additional Means by Which UnitedHealth Perpetrated
                      the Upcoding Scheme

         75.79. The multi-faceted upcoding scheme also incorporated chart reviews, and

provider pressure tactics. For the purpose of upcoding, UnitedHealth used risk-adjustment

coders employed by Optum and third-party companies to seek out chronic conditions in the


6
    The targeting of financial gains from upcoding peripheral artery disease is a longstanding
practice at UnitedHealth. For example, in 2007, Jerry Knutson, then-CFO for
UnitedHealth’s Medicare & Retirement division, emailed a Company colleague to discuss
ways to increase revenue: “‘You mentioned vasculatory disease opportunities, screening
opportunities, etc with huge $ opportunities. Let’s turn on the gas! What can we do to make
sure we are being reimbursed fairly for the members and risk we take on more than what we
are currently doing.’” Mr. Knutson stated a desire to increase the following year’s revenue
by $100 million.


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charts of Medicare Advantage members that could be linked to potential complications even

if a diagnosis code was unsupported. The risk-adjustment coders were instructed to mine for

information that would allow UnitedHealth to raise the member’s risk-adjustment score.

         76.80. UnitedHealth also instructed risk-adjustment coders to coach providers to find

the highest value diagnosis codes for Medicare Advantage member without regard to

medical necessity, which was referred to as “leading” the provider. In 2023, UnitedHealth

increasingly outsourced its risk-adjustment coding responsibilities to offshore entities,

primarily based in India.

         77.81. As with the HouseCalls nurses, the risk-adjustment coders were required to

link chronic conditions, such as diabetes, to known diabetic complications even if the

connection was not medically indicated. The risk-adjustment coders were evaluated on how

much upcoding they performed and were expected to code the highest value diagnosis

possible. Optum’s financial coding team had granted the authority to change diagnosis codes

and upcode to higher-value diagnoses.

         78.82. On March 18, 2024, The Examiner News reported on a January 2024 meeting

between Optum executives and other healthcare professionals for the Optum Tri-

State/Optum East Organization.7 The purpose of the meeting was to advise nurses on how to

add additional diagnosis codes when conducting chart reviews. The following people

participated in the meeting: eight or nine nurses, a trio of administrators, a physician, Dr.


7
   Attached hereto as Exhibit 68 is a copy of The Examiner News article titled:
“Whistleblower Releases Audio, Files Complaint: Cites Medical Billing Plot at Optum,”
dated March 18, 2024.


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Kevin Baran, and a pair of higher-level executives: Optum East Director of Clinical

Documentation Education Rachelle Gauvin and the Vice President of Risk Adjustment

Cristy Bauer, who reports to the President of Risk Bearing Entities Alyssa Pepper. The

Examiner News described the three-step process employed by Optum to defraud CMS. First,

nurses would conduct chart reviews to identify the members’ prior chronic conditions (even

if the prior condition was years old) and then add the diagnoses to the members’ charts to

“resurrect” prior medical issues into an “active problem.” Second, the members would then

visit their primary healthcare provider, but Optum tried to keep the members’ primary

healthcare provider “inoculated” from the upcoding scheme. Third, a coder, “usually

offshore in India,” would add a code in a “super shady” manner that related to the diagnoses

previously added by the nurse in step one, but not addressed by the primary healthcare

provider in step two, and then claims would be submitted to CMS without the members’

primary healthcare providers’ involvement.

         79.83. The March 18, 2024 The Examiner News report also included inside

audiotapes, evidencing UnitedHealth management coaching nurses to add unsupported

diagnoses during chart reviews. Specifically, UnitedHealth management encouraged nurses

to use “‘buddy codes’” to add a new diagnosis based purely on a member’s separate existing

diagnoses, and not because a doctor actually detected any new medical condition.

         80.84. UnitedHealth also used its captured Optum provider network to facilitate the

upcoding scheme.       On July 25, 2024, STAT News published a report titled: “How

UnitedHealth harnesses its physician empire to squeeze profits out of patients,” further

documenting UnitedHealth’s nationwide practice of pushing clinicians to document as many
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ailments as they could by offering bonuses, while concurrently admonishing clinicians who

did not code as much as their peers. UnitedHealth not only instructed clinicians to document

conditions they did not believe applied, but reprimanded clinicians if their upcoding numbers

were not sufficient. Doctors who met UnitedHealth’s coding expectations were rewarded

with annual bonuses upwards of $30,000.

         81.85. The July 25, 2024 STAT News report further reported that a 2022 study by

UnitedHealth’s own physician researchers showed that UnitedHealth’s physicians coded its

MA Plan members as having lung disorders, vascular conditions, and kidney disease at more

than two times the rate of those in the traditional Medicare program. The July 25, 2024

STAT News report stated that Dr. Susan Baumgaertel (a primary care physician previously

employed by UnitedHealth in Seattle, Washington) would truthfully tell members when they

called that they really did not have the condition she had added to their chart, but she was

instructed to add it by UnitedHealth so that she would get paid more.

         82.86. Additionally, the July 25, 2024 STAT News report stated that Dr. Nick Jones (a

primary care physician previously employed by UnitedHealth in Eugene, Oregon), stated

that the inaccurate code he saw most frequently was long-term management of insulin: the

code was applied to members that only received insulin once to lower their blood sugar

before surgery, but who never needed the drug again. Dr. Jones stated that UnitedHealth

would regularly host sessions where they spent hours teaching doctors how to code, but the

sessions never covered new research into specific conditions or resources available for

members.



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         87.        On October 16, 2024, a STAT News report further confirmed UnitedHealth’s

practice of pressuring doctors to document more chronic illnesses in Medicare Advantage

patients to increase revenue. According to the report, UnitedHealth used a combination of

techniques to exert upcoding pressure, including paying bonuses (up to $10,000), peer

pressure, and utilizing competitive dashboards comparing doctors’ diagnosis rates with

peers. The report also confirmed that at UnitedHealth clinics, doctors diagnosed peripheral

artery disease in 47% of Medicare Advantage patients – a rate three to four times higher than

typical prevalence in older Americans. Each diagnosis brought in about $3,000 in extra

annual Medicare payments per patient. According to the STAT News report, former

UnitedHealth physicians from across the country consistently described intense pressure

from the Company to increase patient risk scores and noted that doctors who did not code

enough diagnoses were sent to remedial training. The STAT News report quoted a former

UnitedHealth doctor, stating: “‘They would say, “You should talk about these other high-risk

disease states so that we get more compensation for it,”. . . I think that’s an inherent conflict

of interest. Effectively what you’re incentivizing is sicker patients, or at least sicker

appearing on paper, which I think is a joke.’”

         83.88. During the Class Period, UnitedHealth used HIV, a high-value diagnosis code

to obtain additional payments from CMS even though the condition was unsupported in

many instances. For example, as shown in the chart below approximately 89% of

UnitedHealthcare members diagnosed with HIV from 2018 to 2021 did not receive the

recommended antiretroviral drug treatment, which was the only effective treatment for HIV.



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The lack of treatment demonstrates that these HIV “diagnosis” were not supported. A HIV

diagnoses gave UnitedHealth an extra $3,000 a year per member.




         84.89. The WSJ reported that insurer-driven diagnoses by UnitedHealth for high-value

diagnoses that no doctor treated generated $8.7 billion in payments to UnitedHealth from

CMS in 2021 alone, representing more than 50% of the Company’s 2021 net income of $17

billion.

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         85.90. The WSJ also found that UnitedHealth added diagnoses at a far higher rate that

other insurers, as illustrated in the following chart:




                       UnitedHealth Adamantly Denies the Office of Inspector
                       General’s September 2021 Report Showing Billions of
                       Dollars in Questionable Payments Made to UnitedHealth
                       as a Result of Chart Reviews and Health Risk
                       Assessments

         86.91. In September 2021, the Office of Inspector General (“OIG”) of the Department

of Health and Human Services published the results from its detailed evaluation of payments

made by CMS in 2017 resulting from chart reviews and health risk assessments.8 Two prior

OIG evaluations found that MA Plans were paid $9.2 billion in 2017 for diagnosis codes



8
   Attached hereto as Exhibit 79 is the OIG report titled: Some Medicare Advantage
Companies Leveraged Chart Reviews and Health Risk Assessments to Disproportionately
Drive Payments, OEI-03-17-00474, dated September 2021.


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only reported on chart reviews or health risk assessments. Therefore, the OIG was

concerned that MA Plans were leveraging both chart reviews and health risk assessments to

inflate risk-adjusted payments. The submission of unsupported diagnoses is a major driver

of improper payments to the MA Plans.

         87.92. The OIG found that UnitedHealth stood out in its use of chart reviews and

health risk assessments to increase its risk-adjusted payments.9 In 2017, UnitedHealth

received 40% ($3.7 billion of $9.2 billion) of the total risk-adjusted payments made by CMS

resulting from chart reviews and health risk assessments, yet UnitedHealth enrolled only

22% of the total MA Plan members. UnitedHealth’s payments from just health risk

assessments was even more disproportionate compared to its peers – in 2017 the Company

generated 58% ($1.5 billion of $2.6 billion) of all payments made by CMS resulting from

health risk assessments.     Almost all of the health risk assessments conducted by

UnitedHealth were in members’ homes.

         88.93. UnitedHealth received 66.6% of all payments made by CMS in 2017 resulting

from diagnoses reported from only in-home health risk assessments and on no other service

records. Additionally, the top three diagnoses from in-home health risk assessments that

generated risk-adjusted payments for UnitedHealth were “‘peripheral vascular disease,

unspecified,’” “‘major depressive disorder, recurrent, mild,’” and “‘type 2 diabetes mellitus

with diabetic peripheral angiopathy without gangrene.’” These three diagnoses were


9
    The OIG report did not identify UnitedHealth by name. Shortly after the OIG report was
issued, the WSJ and other media outlets published articles about the report confirming that
UnitedHealth was the company referenced in the OIG report.


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submitted by UnitedHealth solely predicated on in-home health risk assessments and on no

other service records for 125,632 members, almost 600% of the number submitted for these

three diagnosis only on in-home health risk assessments by all other 161 MA Plans (21,618

members) combined!

         89.94. Additionally, UnitedHealth accounted for at least 90% of members with 9

other diagnoses made only from in-home health risk assessments that generated additional

risk-adjusted payments by CMS in 2017. For example, UnitedHealth submitted the

diagnosis of “‘other forms of angina pectoris’” for 99% (6,719 of 6,795) of the members

with this diagnosis from an in-home health risk assessment that generated payment by CMS

in 2017. All other 161 MA Plans combined submitted this diagnosis from in-home health

risk assessments for just 76 members. The OIG concluded it was “‘unusual that one

company accounted for such a substantially higher share of the [members] with these

diagnoses.’” Therefore, the OIG recommended that CMS perform additional oversight over

UnitedHealth to determine the propriety of the billions of dollars in payments CMS made to

the Company.

         90.95. In response to a September 2021 report from the OIG report, UnitedHealth

adamantly denied any wrongdoing, stating: “‘UnitedHealthcare’s in-home clinical care

programs provide significant benefits to seniors and for years have been valuable offerings to

ensure our members continue to receive cost-effective, appropriate care. Our Medicare

Advantage risk-adjustment program is transparent and compliant with CMS rules.’”




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                          The Financial Impact of UnitedHealth’s Upcoding
                          Scheme

         91.        As shown in the chart below, UnitedHealth reported the following annual

financial results during the Class Period:




         92.        Defendants’ upcoding scheme allowed UnitedHealth to pocket at least $12

billion of improper Medicare Advantage payments during the Class Period, calculated by

multiplying the number of in-home visits by the average improper Medicare payment per

visit (see ¶¶58, 64, supra), as shown in the following chart:




         93.        The July 8, 2024 WSJ report stated that for 2021, UnitedHealth improperly

diverted CMS of an even greater amount of revenue from its upcoding scheme, receiving
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$8.7 billion in Medicare Advantage payments for diseases that no doctor treated. This

resulted in the Company’s UnitedHealthcare segment overstating revenue by 4% for FY

2021-2023.10 The applied impact to UnitedHealthcare segment revenue reported in the

Company’s Forms 10-K for FY 2021-2023 is illustrated below:




                    UnitedHealth Acquires Change Healthcare and Misleads
                    Investors About Data Firewalls

                         The Change Acquisition

         94.96. On January 6, 2021, UnitedHealth announced its intention to purchase Change,

the largest healthcare electronic data interchange (“EDI”) clearinghouse in the U.S., for $13

billion. At the time of the acquisition, Change described itself as standing at the “‘center of

the health ecosystem’” in the United States. Change’s payer customers (insurers) included

many of UnitedHealth’s key commercial health insurance rivals. Change described its


10
    As used herein, “FY” means the Company’s fiscal year and “Q” means the Company’s
fiscal quarter (e.g., FY 2021 means fiscal year 2021 and Q1 2021 means the first quarter of
2021).




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services as an “‘information highway connecting key healthcare stakeholders.’”

UnitedHealth planned to integrate Change into Optum Insight, one of UnitedHealth’s

business segments.

         95.97. As an EDI clearinghouse, Change played a critical role in commercial health

insurance markets. Often called the “pipes of the healthcare industry,” EDI clearinghouses

enable the electronic transmission of claims, remittances, and other information among

healthcare payers and providers. Unlike paper or telephonic transmissions that have

historically been used, EDI clearinghouses facilitate much faster processing and result in

much less administrative waste. Manual claim submissions cost health insurers over ten

times as much as electronic submissions, according to industry estimates. As a result,

transactions using EDI clearinghouses are the industry standard. In 2021, 97% of medical

claims were submitted electronically, and 95% of providers and 99% of insurers used EDI

clearinghouses.

         96.98. A substantial amount of data flows through EDI clearinghouses. And these

data cover the entire lifecycle of a claim – both pre- and post-adjudication. Pre-adjudicated

claims data include details about the provider, the patient, the employer group, the location

of care, the diagnosis, the services and procedures rendered, and the billed amounts. Post-

adjudicated claims data can include even more information, such as details about the

provider-payer contract, the payer’s claims edits, the medical policy and benefit design, the

final paid amount, and adjudication decisions. Both pre-adjudicated and post-adjudicated

claims data have proprietary information and competitive value.



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         97.99. As the largest EDI clearinghouse in the United States, Change maintained

connections across the American healthcare landscape: connections with over 2,000 payers,

1 million physicians, and 6,000 hospitals and health systems.

         98.100.      At the time the acquisition was announced, Change processed more than

15 billion healthcare transactions per year, together worth more than $1.5 trillion in

adjudicated value. Through these transactions, Change had access to vast amounts of data,

relating to about half of all commercial medical claims in the United States. It also had the

legal rights to use these data through contracts with customers and intermediaries. The data

to which Change has access and rights includes claims data for each of UnitedHealth’s major

rivals going back to 2012, and its access and rights are significantly more expansive than

what UnitedHealth had prior to the acquisition.

         99.101.      With the acquisition of Change, UnitedHealth’s Optum business

segments would gain access to a significant store of providers’ financial and clinical data

(including customer sensitive information (“CSI”), valuable information that would

accelerate and support the expansion of its provider business.

                      The Change Acquisition Comes Under Immediate
                      Government Scrutiny

         100.102.     UnitedHealth’s purchase of Change immediately came under scrutiny

due to its anti-competitive implications. In a March 17, 2021 letter, the American Hospital

Association (“AHA”) expressed serious concern that the purchase would squelch

competition for the sale of healthcare IT services to other providers. The AHA was also

concerned that the acquisition would put a sizable portion of the country’s healthcare data


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into the hands of a single entity (UnitedHealth). Recognizing the fundamental importance of

the issue, the AHA specifically questioned UnitedHealth’s and Optum’s purported

“firewalls,” and noted that the Company “has never demonstrated that the firewalls are

sufficiently robust to prevent sensitive and strategic information sharing.”11 One Deutsche

Bank analyst noted a clear and present danger that “this merger would lead to a significant

consolidation of data in healthcare and would end up giving [UnitedHealth] solo access to

nearly all competitive payers information.”

         101.103.    On February 24, 2022, the DOJ, along with attorneys general for

Minnesota and New York, sued to block the transaction. The DOJ alleged that the proposed

acquisition violated antitrust laws because, among other things, the integration of Change

and Optum would give UnitedHealth unparalleled access to information regarding nearly

every health insurer, as well as health data on nearly every single American.

         102.104.    The DOJ also claimed the transaction would give UnitedHealth a near

monopoly over EDI clearinghouse services, as well as claims editing12 – the two of the most

critical processes in the commercial health insurance industry – since UnitedHealth’s Optum

segments already operated an EDI clearinghouse and provided a claims editing product.


11
    A firewall is a network security device that monitors incoming and outgoing network
traffic and decides whether to allow or block specific traffic based on a defined set of
security protocols. Firewalls have been the first line of defense in network security for over
25 years.
12
   Claims editing is the process of reviewing and correcting healthcare insurance claims
before they are submitted for payment, ensuring they comply with industry standards,
regulations, and payer-specific requirements. This step helps prevent errors, reduce fraud,
and avoid claim rejections or delays in reimbursement.


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         103.105.      The DOJ further alleged that the UnitedHealth and Change claims

processing systems would together serve 38 of the top-40 health insurers in the country,

giving UnitedHealth near-complete visibility into rivals’ health plans and coverage, enabling

UnitedHealth to structure its own plan with a competitive advantage.

         104.106.      After the DOJ filed suit, Attorney General Merrick B. Garland stated:

         “If America’s largest health insurer is permitted to acquire a major rival for
         critical health care claims technologies, it will undermine competition for
         health insurance and stifle innovation in the employer health insurance
         markets. The DOJ is committed to challenging anticompetitive mergers,
         particularly those at the intersection of health care and data.”

         105.107.      Principal Deputy Assistant Attorney General Doha Mekki of the DOJ’s

Antitrust Division likewise stated: “‘The proposed transaction threatens an inflection point in

the healthcare industry by giving United control of a critical data highway through which

about half of all Americans’ health insurance claims pass each year.’” She added that:

         “Unless the deal is blocked, United stands to see and potentially use its health
         insurance rivals’ competitively sensitive information for its own business
         purposes and control these competitors’ access to innovations in vital health
         care technology. The department’s lawsuit makes clear that we will not
         hesitate to challenge transactions that harm competition by placing so much
         control of data and innovation in the hands of a single firm.”

         106.108.      On February 24, 2022, the AHA issued the following statement:

                The American Hospital Association commends the Department of
         Justice for its efforts to protect patients and providers, including hospitals and
         health systems, from United HealthGroup’s (UHG) attempt to acquire Change
         Healthcare. The AHA urged DOJ’s Antitrust Division to conduct a thorough
         investigation of the proposed transaction because of its anticompetitive
         potential to “produce a massive consolidation of competitively sensitive health
         care data” under UHG’s exclusive control. We warned repeatedly “the
         combination of the parties data sets would impact (and likely distort) decisions
         about patient care and claims processing and denials to the detriment of
         consumers and health care providers. . . .” Challenging this proposed

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         combination was the right thing to do to prevent untold competitive harm for
         patients and health care providers.

(alteration in original).

         107.109.     Numerous financial analysts noted the key points of the government’s

challenge. For example, a Credit Suisse analyst highlighted that “[t]he crux of the issue is

that [UnitedHealth] would have access to sensitive data that could be wielded against

competitors on the insurance side of the business.” While acknowledging that the deal could

be approved because of UnitedHealth’s affirmative promised “strict firewalls keeping

insurance data obtained by Optum from flowing through to the United Healthcare insurance

business.”

                      UnitedHealth Defeats the DOJ Lawsuit By Insisting It
                      Always Maintains “Strict” Data Firewall

         108.110.     In response to the DOJ’s allegations, Defendants emphasized

UnitedHealth’s best-in-class firewalls that allowed the Company to maintain the integrity of

customers’ data and CSI – and avoid antitrust concerns. For example, Defendants promised

that UnitedHealth had “internal firewalls that prevent the sharing of competitively sensitive

information across business units.”      Similarly, UnitedHealth emphasized that it had

“operationalized its firewall policy through ‘robust’ technological systems that prevent

employees of one UnitedHealth business unit from accessing data housed within another

UnitedHealth business unit.”

         109.111.     Recognizing the control the Change acquisition would give the

Company in the claims’ processing market, UnitedHealth proposed selling Change’s claims

editing business (ClaimsXten), after the acquisition to address the DOJ’s antitrust concerns.

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The DOJ, however, remained concerned about UnitedHealth and Optum’s access to

Change’s network, and data rights the acquisition would still provide.13

         110.112.    The case went to trial, and on September 19, 2022, United States

District Court Judge Carl Nichols of the District of Columbia decided the suit in Optum and

UnitedHealth’s favor. See United States v. UnitedHealth Grp. Inc., 630 F. Supp. 3d 118

(D.D.C. 2022). In siding with the Company, among other things, the court specifically

credited UnitedHealth’s purported history of maintaining data firewalls and policies

prohibiting anti-competitive behavior.

         111.113.    Analysts at Deutsche Bank and Wells Fargo cheered the approved

merger and affirmation of UnitedHealth’s security systems as a sign of UnitedHealth’s

growth potential. Deutsche Bank called UnitedHealth’s courtroom victory a “positive

leading indicator” for more consolidation by UnitedHealth. Wells Fargo analysts stated that:

“Challenge to Change Healthcare Defeated, Could Help to Ease Concerns on Large-Scale

M&A.” Similarly, Wells Fargo further noted that “acquisitions have been a key part of

Optum’s growth over the past 15-20 years, and today’s announcement could somewhat ease

concerns that large-scale vertical M&A could be more challenging going forward.”

                     There Was Not (and Is Not) a Technical Firewall Between
                     Intra-Optum Businesses

         112.114.    Both before and after the Change acquisition was announced, Optum

business applications had an open access policy for customers’ data, including CSI. Optum,


13
    UnitedHealth sold ClaimsXten to a private equity group, TPG Capital, in October 2022
for $2.2 billion.


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and its intracompany businesses, lacked both role-based security systems and a technical

firewall.14 Specifically, without role-based security, Optum lacked any mechanism to restrict

data access based on user roles or permissions. Consequently, once Optum approved a

user’s access request, there was no system in place to enforce limitations on what data,

including CSI, the user could view or handle. The lack of access controls meant that the

intra-Optum businesses had access to Change’s customers’ data, including CSI, resulting in

ongoing risks and exposure of sensitive information. The absence of a technical firewall

inside Optum also meant that any unauthorized access and/or data breaches could not be

isolated, as the intruders would have access to the full gamut of Optum data.

         113.115.     Change’s external customers include competitors to intra-Optum

businesses. In other words, for every product Change offers, there are businesses within

Optum that compete with Change customers. Following Change’s integration into Optum

Insight, this condition has not changed – Change’s external customers still include

competitors to intra-Optum businesses. As such, the lack of technical firewalls risked both

the exposure of sensitive information and anti-competitive behavior.

         114.116.     The following Optum business applications shared data with other

business applications and did not (and do not) prohibit Optum from using external customer

data to benefit Optum businesses that compete with those external customers:




14
    Role-based security, also known as role-based access control (RBAC), is a mechanism
that restricts system access. It involves setting permissions and privileges to enable access to
only authorized users.


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                   ContractHub – the contract repository for all of Optum’s commercial contracts
                    (CSI stored in ContractHub includes pricing information and contract terms
                    and conditions), does not have in place sufficient role-based security protocols
                    to prevent users from one Optum business from accessing data from another
                    Optum business.15

                   Safesforce Growth Office (“Salesforce GO”) – the sales customer relationship
                    manager used to track and report sales activity (CSI stored in Salesforce GO
                    includes pricing information), does not have in place sufficient role-based
                    security protocols to prevent users from observing all past and current sales
                    activity for all Optum customers which will include Change customers.

                   Business Intelligence Data Warehouse (BIGW) – the data warehouse that
                    receives data from many systems including ContractHuB, Salesforce GO,
                    Peoplesoft Enterprise Resource Planning Tool (“Peoplesoft ERP”) and the
                    Change Healthcare Enterprise Data Warehouse (EDW) (CSI stored in BIGW
                    includes volumes of transactions and accounting status), does not have in
                    place sufficient role-based security protocols to prevent users from one Optum
                    business from accessing data from another Optum business.

                   Data Governance Tracking Systems (DGTS) – the tool that extracts
                    information from customer contracts regarding whether Optum can de-identify
                    the customer data or use offshore resources to support the contract (CSI stored
                    in DGTS includes contractual terms Change reached with its customers), does
                    not have in place sufficient role-based security protocols to prevent users from
                    one Optum business from accessing data from another Optum business.

                   Peoplesoft ERP – the system used for managing billing and accounts
                    receivables for Optum (CSI stored in Peoplesoft ERP includes billing
                    information, accounts receivable, and the volumes of systems used), does not
                    have in place sufficient role-based security protocols to prevent users from one
                    Optum business from accessing data from another Optum business.16




15
   In January 2024, ContractHub implemented role-based security. But from the time the
Change acquisition was approved on September 19, 2022 until January 2024, ContractHub
lacked a technical firewall.
16
   In Fall 2023, Peoplesoft ERP implemented role-based security. Yet, from the time the
Change acquisition was approved on September 19, 2022 until Fall 2023, Peoplesoft ERP
too lacked a technical firewall.


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                   Optum ERP Data Store (OEDS) – the tool used for reporting data from the
                    Peoplesoft ERP (CSI stored in Optum ERP Data Store includes billing
                    information, accounts receivable, and the volumes of systems used), does not
                    have in place sufficient role-based security protocols to prevent users from one
                    Optum business from accessing data from another Optum business.

         115.117.          Thus, contrary to UnitedHealth’s assurances on July 22, 2022, intra-

Optum businesses did not have “internal firewalls that prevent the sharing of competitively

sensitive information across business units.”

         116.118.          During the integration activities that followed the October 2022 Change

acquisition, the lack of technical firewalls inside Optum business systems was reported to the

Integration Management Office (“IMO”). The report cited the lack of firewalls as a concern

and potential risk for completion of integration activities per the established timeline. The

IMO is responsible for reporting issues to executive leadership, including CEO Witty and the

Board of Directors.

         117.119.          Since the Change acquisition, to address the specific concerns raised to

Optum leadership about a lack of technical firewalls, Optum has added some firewalls. For

example, Peoplesoft ERP (Fall 2023) and ContractHub (January 2024) business applications

implemented role-based security.

         118.120.          The technical firewall shortcomings are not limited to Optum. Some

UnitedHealthcare and Optum solutions share technical resources to manage and process data.

One such solution is the Consumer Database (“CDB”). CDB uses Line of Business (“LOB”)

tags to ensure proper data separation and to control whether Optum or UnitedHealthcare

employees can access or view the data. The LOB tags for certain records across over 100

systems within the CDB were not implemented or applied in a manner which ensured, and

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thus failed to prevent, UnitedHealthcare employees from seeing Optum’s customer data. In

September 2023, a user reported this security failure issue and an investigation was

conducted by the Privacy Team. The Privacy Team, an organization at UnitedHealth that

reports to Rubert Bondy, the chief legal officer of UnitedHealth, is responsible for

investigating potential privacy incidents. Optum has been working to fix all the incorrect

LOB tags, but it is a long and tedious process that is planned to be “fixed” during October

2024.

                    UnitedHealth’s Lax Security Leads to Massive Data Breach

         119.121.         On February 22, 2024, UnitedHealth announced that a massive data

breach had occurred at Change. The breach resulted from a targeted attack by a ransomware

group that identified and capitalized on weaknesses in UnitedHealth’s security. It remains

the largest cyber-attack on the healthcare industry in American history. One third of all

patient records in the United States are touched by Change, and exposed by the breach. The

hackers claiming responsibility for the attack claim they stole sensitive medical information

for tens of millions of patients, which UnitedHealth admitted included medical information

such as diagnoses and medications; billing information such as credit card numbers and

payment history; and personal information, including social security numbers.

         120.122.         When UnitedHealth acquired Change in October 2022, it claimed that

Change would be fully integrated into the UnitedHealth system, and would therefore benefit

from UnitedHealth’s technology and security capabilities. But UnitedHealth failed to protect

the sensitive data Change stored while the integration took place. The massive breach

occurred because of that vulnerability as UnitedHealth declined to implement basic security

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measures, such as multi-factor authentication, where the user must present a code sent to a

personal email or telephone number before access is granted. The Change system allowed for

full access to the system with only an email and password. In this instance, the hackers

simply obtained login information and had access to a massive database of the country’s

most sensitive information. The unauthorized access was not detected by UnitedHealth for

nine days, while the hackers scoured patient data.

         121.123.    The damage spread well beyond the invasion of patients’ privacy.

UnitedHealth had no way to remove the threat, so it had to disconnect Change’s systems so

as to prevent the hackers from accessing even more data. UnitedHealth then gradually

restored systems over the course of several weeks and months. By April 22, 2024 – after

UnitedHealth had agreed to pay and did pay a $22 million ransom – UnitedHealth claimed

that “approximately 80% of Change functionality has been restored on the major platforms

and products.” In the meantime, the breach paralyzed the processing capabilities of

numerous pharmacies and healthcare providers across the country, which could not verify

insurance, submit claims, generate bills, or process payments for weeks. As a result, many

doctors were forced to either decline to provide healthcare services to their patients or to

provide care to their patients without a mechanism to receive compensation. This impacted

providers’ ability to make payroll and cover expenses, driving many toward financial ruin.

Analysts estimated that providers alone were collectively losing $1 billion per day because

of the breach. An AHA survey found that more than 90% of American hospitals were

affected financially, with more than 70% reporting that the breach impacted their ability to

care for patients.
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         122.124.         While the cyber-attack devastated the rest of the healthcare industry,

UnitedHealth took advantage of the attack. Initially, UnitedHealth agreed to provide loans to

desperate providers financially frozen by the breach, but offered those loans under draconian

terms and on the condition that the borrowers provide positive statements to the media about

the “help” UnitedHealth agreed to provide. Even worse, as some providers were driven

toward the brink of bankruptcy by the Change data breach, UnitedHealth used the

opportunity to purchase providers at bargain prices and further increase its market power.

         123.125.         The breach immediately led to heightened scrutiny from regulators and

the media. Lawmakers expressed grave concern that the entire healthcare industry could be

brought to its knees because of security failure by a single company. Congressional hearings

were held on May 1, 2024 to discuss the breach and its implications. Witty attended the

hearings to answer questions from lawmakers. At the Senate Committee hearing, Sen.

Elizabeth Warren called UnitedHealth “‘so damn big’” and at the House of Representatives

hearing, Rep. Buddy Carter (R-Ga.) agreed that the Healthcare behemoth “‘needs to be

busted up.’”

                    Optum’s Additional Anti-Competitive Practices

         124.126.         Before and during the Class Period, UnitedHealth used its monopoly-

like dominance to engage in unfair anti-competitive practices to consolidate its control over

healthcare services, eliminate competition, and boost revenues. UnitedHealthcare, the

Company’s insurance business, maintains a contractual network of healthcare providers

(such as hospitals, surgical care centers, and physicians specialists) for the benefits it

provides to members. Through its Optum businesses, UnitedHealth employs or is affiliated

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with nearly 90,000 physicians, making it the largest employer of physicians in the United

States.

          125.127.    During the Class Period, UnitedHealth, through its Optum businesses,

engaged in anti-competitive conduct to exert control over the market for primary care

providers in certain geographies were competition was particularly strong. For example,

Optum had contracts with hospitals who also owned primary care provider practices that

directly competed with Optum. Optum threatened these hospitals with contract cancellation

unless the hospitals agreed to new, coercive, anti-competitive terms, that were designed to

ensure their exit from the primary care provider market so that Optum could consolidate

control over primary care providers that serviced Optum patients and UnitedHealthcare

members.

          126.128.    The terms demanded by Optum included that Optum would get first and

last right of refusal if these hospitals put their primary care provider businesses up for sale,

that they would not try to recruit Optum’s doctors, and that Optum would pay less for certain

hospital services. When the hospitals did not agree to these terms, Optum cut ties with the

hospitals. Once the contracts were terminated, Optum steered its MA Plan members to other

hospital facilities despite federal and state laws requiring continuity of care for Medicare

Advantage members.

          127.129.    Optum intimidated doctors who wanted to leave Optum-owned

practices to work for competitors by using unlawful restrictions on competition in the

doctors’ contracts and threatening the doctors, and the competing practices they were going

to, with legal action if they moved. Moreover, once doctors left Optum, Optum employees
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were instructed not to inform patients their doctors had moved to non-Optum practices.

Instead, Optum employees were instructed to deliberately conceal the doctor’s departure, and

to tell patients their doctors had retired or were on vacation. Optum employees were

disciplined if they did not follow these instructions.

                    UnitedHealth’s Additional Anti-Competitive Conduct

         128.130.         UnitedHealthcare, UnitedHealth’s insurance business, likewise engaged

in anti-competitive conduct during the Class Period. Like Optum, UnitedHealthcare was

using its market dominance to pressure its in-network physicians and healthcare facilities to

stop working with healthcare providers outside of UnitedHealthcare’s network. Specifically,

UnitedHealthcare offered financial incentives to its in-network healthcare providers to refer

patients to physicians inside of UnitedHealthcare’s network. UnitedHealth also penalized

facilities and providers that continued to work with non-network providers.

         129.131.         For example, during the Class Period UnitedHealthcare incentivized its

in-network surgeons with lucrative contracts – offering up to 50% additional compensation –

if they steered patients away from out-of-network anesthesiologist groups that competed

with Optum and to UnitedHealthcare approved, or Optum owned, practice groups. This

strategy was designed to and did effectively exclude competitors from the market. Also, by

forcing the surgeons to use in-network providers, particularly those tied to Optum,

UnitedHealthcare not only reduced its costs by relying on lower-priced providers but also

strengthened its control over healthcare pricing. This allowed UnitedHealth to further

consolidate its market power, unlawfully increasing its revenue while reducing competition.



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                    UnitedHealth Receives Notice of a Nonpublic DOJ Investigation
                    and UnitedHealth Executives Immediately Embark on a Massive
                    Insider Selling Spree

         130.132.         On October 10, 2023, UnitedHealth received notice that the DOJ had

launched a “‘non-public antitrust investigation into the company,’” according to an internal

email distributed on October 24, 2023 by Rupert Bondy, an executive vice president and

chief legal officer of UnitedHealth. Bondy’s email, sent to at least 16 high-ranking

colleagues inside the Company, included a “‘document preservation notice.’” While news of

the antitrust investigation circulated inside the Company, UnitedHealth withheld this

material information from investors.

         131.133.         UnitedHealth chairman, defendant Hemsley, and defendant Thompson

took immediate action – selling millions of dollars of their own UnitedHealth shares while in

possession of this material nonpublic information. All told, these insiders sold over $117

million worth of UnitedHealth common stock during the four-month period when insiders

knew about the federal antitrust investigation but the public did not. Hemsley’s largest sale

during this time was particularly well-timed. On October 17, 2023 – just one week after

UnitedHealth was notified of the DOJ antitrust investigation – Hemsley unloaded 121,515

shares of UnitedHealth common stock for over $65 million in proceeds. Hemsley continued

his insider trading on December 5, 2023, for another $36 million in proceeds. Defendant

Thompson also dumped his shares, taking $15.1 million in proceeds on February 16, 2024.

The below chart shows Hemsley’s and Thompson’s stock sales during this time:




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         132.134.    There’s no indication that any of the stock sales by Defendants was

executed according to scheduled trading plans.        Professor John Coffee, a corporate

governance expert at Columbia Law School and one of the leading and renowned defense

experts in the securities-fraud area told Bloomberg News: “Typically a company’s general

counsel would declare a blackout period barring trading in light of a sensitive

investigation . . . ‘Apparently, this did not happen’ at UnitedHealth . . . .” Charles Elson,

founding director of the Weinberg Center for Corporate Governance at the University of

Delaware, told Bloomberg News that the fact that the price of UnitedHealth shares fell after

the scope of the DOJ antitrust investigation was reported by the WSJ “‘would suggest some

materiality to investors.’”
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                    The Scope of the New DOJ Investigation Is Publicly Disclosed
                    and UnitedHealth’s Stock Price Drops

         133.135.         During the trading day on Tuesday, February 27, 2024, the WSJ

revealed new information and new analysis about the scope of the new DOJ antitrust

investigation into UnitedHealth.17 For example, the WSJ reported:

               The Justice Department has launched an antitrust investigation into
         UnitedHealth, owner of the biggest U.S. health insurer, a leading manager of
         drug benefits and a sprawling network of doctor groups.

                The investigators have in recent weeks been interviewing healthcare-
         industry representatives in sectors where UnitedHealth competes, including
         doctor groups, according to people with knowledge of the meetings.

                 During their interviews, investigators have asked about issues including
         certain relationships between the company’s UnitedHealthcare insurance unit
         and its Optum health-services arm, which owns physician groups, among other
         assets.

                Investigators have asked about the possible effects of the company’s
         doctor-group acquisitions on rivals and consumers, the people said.

                                         *      *      *

                The new Justice Department inquiry, reported earlier by the Examiner
         News, a news organization based in New York’s Hudson Valley, is partly
         examining Optum’s acquisitions of doctor groups and how the ownership of
         physician and health-plan units affects competition, according to the people
         with knowledge of the matter.

                Investigators have asked whether UnitedHealthcare favored Optum-
         owned groups in its contracting practices, potentially squeezing rival
         physicians out of certain types of attractive payment arrangements.




17
   The February 27, 2024 WSJ article titled: “U.S. Opens UnitedHealth Antitrust Probe,
Investigators question industry officials who compete with the healthcare giant,” is attached
hereto as Exhibit 811.


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                Investigators have also explored whether Optum’s ownership of
         healthcare providers could present challenges to health insurers that are rivals
         to UnitedHealthcare.

                 In addition, the Justice Department officials are investigating Medicare
         billing issues, including the company’s practices around documenting patients’
         illnesses.

                Payments to Medicare plans go up if patients have more health
         conditions, so aggressive documentation practices by doctors and other
         healthcare providers can be lucrative for insurers such as UnitedHealthcare.

                And investigators have asked whether and how the tie-up between
         UnitedHealthcare and Optum medical groups might affect its compliance with
         federal rules that cap how much a health-insurance company retains from the
         premiums it collects from customers.

                Under those rules, insurance plans are supposed to absorb no more than
         15% or 20% of the premium for their administrative costs and profits, with the
         percentage varying depending on the type of plan. The rest is supposed to be
         spent on patient care, or rebated back to customers.

                When the same company owns both the health insurer and the
         physicians and other healthcare providers who take care of patients, the
         combined firm may absorb far more than the capped amount, however.

         134.136.         Upon this news, the price of UnitedHealth common stock immediately

declined in a statistically significant manner, falling over $27 per share, from $525.32 on

February 26, 2024 to $498.28 on February 28, 2024.

         DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
         STATEMENTS AND OMISSIONS

                    False and Misleading Statements Concerning UnitedHealth’s
                    HouseCalls and Medicare Advantage Program

         135.137.         Throughout the Class Period, Defendants misrepresented the purpose of

UnitedHealth’s HouseCalls in-home visit program and concealed the Company’s scheme to

target certain diagnoses of serious and chronic conditions in order to boost payments from

CMS. In truth, the Company was using in-home health risk assessments conducted by
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HouseCalls nurses, retroactive chart reviews, and provider pressure tactics, to generate

diagnosis codes for conditions that were not based on medical necessity or that no doctor

ever treated to increase CMS payments to UnitedHealth.

                      Statements During 2021

         136.138.     The Class Period starts on September 22, 2021, the day the WSJ

published an article titled: “Most of $9.2 Billion in Questionable Medicare Payments Went

to 20 Insurers, Investigators Say.” The article reported on the September 2021 OIG report,

that found 20 Medicare insurers received about half of a $9.2 billion pool of suspicious

Medicare payments from CMS. The article further stated that:

                 Among the 20 companies flagged in the report, the investigators found
         that one received approximately 40% of the questionable payments, or $3.7
         billion, while enrolling only 22% of Medicare Advantage customers. The
         [OIG] report didn’t name the company. Federal data compiled by analysts at
         BMO Capital Markets shows that enrollment share closely matched that of
         industry giant UnitedHealth Group Inc.’s UnitedHealthcare during the period
         covered in the report.

         137.139.     In the WSJ article, UnitedHealth adamantly denied any wrongdoing

stating: “‘UnitedHealthcare’s in-home clinical care programs provide significant benefits

to seniors and for years have been valuable offerings to ensure our members continue to

receive cost-effective, appropriate care.      Our Medicare Advantage risk-adjustment

program is transparent and compliant with CMS rules.’”

         138.140.     On October 14, 2021 Defendants held an earnings call to discuss

UnitedHealth’s Q3 2021 performance. During the question and answer session with analysts

on an October 14, 2021 earnings call with investors, analysts inquired about the financial

impact of COVID-19 on Medicare Advantage risk-adjustments and how the Company was

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performing in terms of completing in-home wellness visits compared to the previous year.

In response defendant Thompson answered: “[W]e are encouraged by the encounters with

the physicians, the primary care visits and annual wellness visits as well as in-home

clinical visits. So those have been encouraging. So I certainly expect less of a headwind

in 2022 due to those encounters, certainly getting traction certainly compared to 2021.”

         139.141.      During the question and answer session, an analyst from Barclay’s

questioned Defendants about the September 22, 2021 WSJ article which highlighted

questionable Medicare Advantage risk-adjusted payments to insurers, including

UnitedHealth, asking:

                So you touched on the topic of Medicare risk adjuster payments earlier.
         This was also a little bit more topical about a month ago with The Wall Street
         Journal putting a spotlight on it. So I guess I’m just curious if you have any
         updated high-level thoughts on [Medicare risk-adjustment] payments
         conceptually for the managed care industry overall. And do you see any
         potential reform of [Medicare risk-adjustment] near term? Or do you expect
         status quo going forward?

         140.142.      In response McMahon stated:

                 And when we think about the risk adjustment model in the payment
         system. The model has been critical to providing broad and equitable access
         to [Medicare Advantage]. Risk adjustment levels of playing field and
         ensures that there’s no disincentive to care for the most vulnerable. So we
         really feel that it’s an essential part of encouraging the right incentives in
         the program, and think that it’s something to build on and broadly support that
         we need to think about how to build on these positive elements and aspects of
         the program for which this is one of them.

         141.143.      On October 19, 2021, the Minnesota Star Tribune published an article

titled: “Report says UnitedHealth Group was top recipient of questionable Medicare

payments.” Similar to the September 22, 2021 WSJ article, the Minnesota Star Tribune

reported on the September 2021 OIG report, confirming that, based on government
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documents it received, UnitedHealth was the company identified in the OIG report as the

stand out Company that “covered 22% of all [members] enrolled in the health plans

[reviewed by the OIG] at the time, yet received a disproportionately high $3.7 billion, or

40% of the total payments” in 2017. The Minnesota Star Tribune article stated that the OIG

“report found UnitedHealth Group received 58% of all payments” based on in-home health

risk assessments. The article further stated that “UnitedHealth Group accounted for two-

thirds of all risk-adjusted payments resulting from diagnoses reported only on in-home

[assessments] and no other service record.”

         142.144.    UnitedHealth again denied any wrongdoing, claiming that the OIG

report was “‘based on old data and is inaccurate and misleading – a disservice to seniors

and an attack on the [federal government’s] payment system,’” and “‘[i]n-home clinical

care programs and chart reviews are needed for appropriate senior care and payment, . . .

UnitedHealthcare’s status as an early clinical home provider is not only appropriate, it’s

best practice.’”

         143.145.    Beginning with UnitedHealth’s November 3, 2021 Form 10-Q filed

with the SEC for the quarter ended September 30, 2021, which was signed by defendant

Witty, Defendants repeatedly stated that: “UnitedHealthcare’s revenue increased due to

growth in the number of individuals served through Medicare Advantage and Medicaid,

including a greater mix of people with higher acuity needs . . . .”18


18
    This false and misleading statement was repeated in the following UnitedHealth SEC
filings: (i) May 4, 2022 Q1 2022 Form 10-Q (signed by Witty); (ii) August 3, 2022 Q2 2022
Form 10-Q (signed by Witty); (iii) November 2, 2022 Q3 2022 Form 10-Q (signed by

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         144.146.      On November 30, 2021, UnitedHealth held its annual investor

conference. During the conference Witty discussed HouseCalls, and its purported focus on

delivering and improving healthcare for Medicare Advantage enrollees, stating:

                Another is through [HouseCalls], a true collaboration between
         Optum and UnitedHealthcare, where our clinicians help seniors in
         Medicare Advantage programs manage their chronic disease, close gaps in
         care and stay healthy and out of the hospital. Our teams not only look after
         our members’ medical needs, they help with any number of life challenges
         like keeping healthy food in the fridge or find an assistance with a utility
         bill.

                       Statements During 2022

         145.147.      On January 19, 2022, Defendants held an earnings call with investors to

discuss the Company’s Q4 2021 and FY 2021 financial results. During the call Witty spoke

about the Company’s in-home visits program and its focus on patient care, stating:

         [O]ne of the things that I think we really are pleased about is the way in which
         OptumCare has developed a whole set of capabilities to deliver really
         enhanced focus on [Medicare Advantage] patients. Obviously, these patients
         have a high medical need very often. They need high touch. I’ve been super
         impressed with the development, not just in the clinic, but also through the at-
         home programs, where we’re able to continue to make sure folks are looked
         after properly.

         146.148.      On February 15, 2022, the Company filed its Form 10-K with the SEC

for the fiscal year ended December 31, 2021, which was signed by defendant Witty. Under

the heading “UnitedHealthcare Medicare & Retirement,” the Form 10-K for FY 2021, stated:

               Medicare Advantage. . . . Under the Medicare Advantage program,
         UnitedHealthcare Medicare & Retirement provides health insurance coverage

Witty); (iv) May 3, 2023 Q1 2023 Form 10-Q (signed by Witty); (v) August 2, 2023 Q2
2023 Form 10-Q (signed by Witty);and (vi) November 6, 2023 Q3 2023 Form 10-Q (signed
by Witty).


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         in exchange for a fixed monthly premium per member from CMS plus, in
         some cases, monthly consumer premiums. Premium amounts received from
         CMS vary based on the geographic areas in which individuals reside;
         demographic factors such as age, gender and institutionalized status; and
         the health status of the individual.19

         147.149.      Under the same heading, the Form 10-K also reported on HouseCalls,

stating:

                 UnitedHealthcare Medicare & Retirement’s senior-focused care
         management model operates at a medical cost level below traditional
         Medicare, while helping seniors live healthier lives. We have continued to
         enhance our offerings, focusing on more digital and physical care resources in
         the home, expanding our concierge navigation services and enabling the home
         as a safe and effective setting of care. For example, through our HouseCalls
         program, nurse practitioners performed more than 2.1 million clinical
         preventive home care visits in 2021 to address unmet care opportunities and
         close gaps in care.

         148.150.      The Form 10-K reported on premium revenues from CMS, stating:

“Premium revenues from CMS represented 36% of UnitedHealth Group’s total

consolidated revenues for the year ended December 31, 2021, most of which were

generated by UnitedHealthcare Medicare & Retirement.”

         149.151.      On April 14, 2022, Defendants held an earnings call with investors to

discuss the Company’s Q1 2022 results.            During the call Tim Noel, the CEO of

UnitedHealthcare’s Medicare & Retirement division, stated:

         In-home testing is certainly a huge area of focus for us. . . . [M]ore recently,
         we’ve really been focused on reaching out to people that we know to be
         underdiagnosed for conditions like hep C and diabetes. And in doing this,
         we’ve reached out over the last year to about 1 million members who we
         suspect to be underdiagnosed and offering in-home testing solutions that are

19
   This statement was repeated in UnitedHealth’s February 24, 2023 FY 2022 Form 10-K,
which was signed by Witty.


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         then delivered by our HouseCalls partners over at Optum. These completion
         rates have been really promising, 35% last year, and we’ll continue to
         evaluate expanding this program. That will do a really nice job of helping
         us understand where conditions are underdiagnosed and can be better
         treated.

         150.152.      On May 10, 2022, executives from UnitedHealth attended a healthcare

industry conference call hosted by Bank of America. During the call the CEO of Optum Rx,

Inc. discussed the HouseCalls program’s value to the Company’s business model, stating:

         So another great example is even go back beyond and you think about the
         beginnings of our home and community base, think about HouseCalls,
         which we’ve talked about for years. I remember when HouseCalls was
         doing a couple of hundred thousand annual visits a year. Today, it is really
         the backbone of a home and community-based program that brings more
         value to the system, helps consumers, service people in their home, puts
         together capabilities that will keep driving value, and we’ll continue to grow
         and drive value to all of our payers and clients.

         151.153.      On July 15, 2022, Defendants held an earnings call with investors to

discuss the Company’s Q2 2022 financial results. During the call Witty discussed the

healthcare benefits of HouseCalls to Medicare patients, stating: “And as you know, we’ve

got a long history in this in areas like house calls, which have delivered amazing health

assessment and preventive direction to millions of people, and this is another big step for

us to extend.”

         152.154.      UnitedHealth CFO John Rex added that the HouseCalls annual wellness

assessments for the Company’s Medicare patients was “very important for us in getting

them the care they need” and “[w]e got to make sure people are getting the care that they

need. We’ve seen the greatest response really in our senior populations. I think some of

that is our ability to get into their homes to influence that care and to get them into that.”


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         153.155.        On November 29, 2022, UnitedHealth held its annual investor

conference.         During the conference Robert Hunter, the Senior Vice President of

UnitedHealthcare’s Medicare Advantage Product & Experience division, stated:

“House[Calls] has been the centerpiece of our home care model for government programs for

years.” Hunter added:

                We expect to complete 2.2 million house calls this year, bringing
         personalized care into the home to address both immediate and preventive
         medical care needs in addition to social needs, including access to healthy
         food, safe housing, transportation and medical appointments and more. We
         have been testing people for underdiagnosed conditions such as diabetes,
         prediabetes, hep C and colon cancer. And what we found is nearly 1 out of
         every 4 people we screened had a condition, they didn’t realize they had and
         the hep C positivity rates for dual special needs members are nearly double
         the national average.

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         154.156.        On January 13, 2023 Defendants held an earnings call with investors to

discuss the Company’s Q4 2022 and FY 2022 financial results.                  During the call

UnitedHealth Chief Operating Officer (“COO”) Dirk McMahon stated:

         [W]e continue to expand the range of clinical services we provide via our
         HouseCalls initiative. In 2023, we will increase the types of vaccinations
         offered, expand testing services and deploy even more real-time resources to
         address social determinants of health. Seniors place high value on being
         able to get care in their home.

         155.157.        On February 24, 2023, the Company filed its Form 10-K with the SEC

for the fiscal year ended December 31, 2022, which was signed by defendant Witty.

         156.158.        Under the heading “UnitedHealthcare Medicare & Retirement” the FY

2022 Form 10-K reported on HouseCalls, stating:

               We have continued to enhance our offerings, focusing on more digital
         and physical care resources in the home, expanding our concierge navigation
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         services and enabling the home as a safe and effective setting of care. For
         example, through our HouseCalls program, nurse practitioners performed
         nearly 2.3 million clinical preventive home care visits in 2022 to address
         unmet care opportunities and close gaps in care.

         157.159.        The Form 10-K reported premium revenues from CMS, stating:

“Premium revenues from CMS represented 38% of UnitedHealth Group’s total

consolidated revenues for the year ended December 31, 2022, most of which were

generated by UnitedHealthcare Medicare & Retirement.”

         158.160.        On April 14, 2023, Defendants held an earnings call with investors to

discuss the Company’s Q1 2023 financial results. During the call McMahon stated: “First,

patient assessments, in-home clinical visits designed to identify care needs and help

patients with other physical and social needs. This year, we expect to make more than 2.5

million visits to patients’ homes and we continue to expand the scope of the clinical

services offered in that setting.”

         159.161.        On July 14, 2023, Defendants held and earning call with investors to

discuss the Company’s Q2 2023 results. During the call, Witty spoke about the Company’s

in-home “wellness assessments” offered by HouseCalls, stating:

                Last month, researchers at Yale Medicine, working in collaboration
         with Optum, published a peer-reviewed study about in-home visits, an
         important element in our value-based care approach. The study found
         patients who received our in-home preventative wellness assessments
         compared with those who hadn’t made fewer emergency department visits
         and spent fewer nights in hospitals across 4 common conditions: depression,
         hypertension, coronary artery disease and type 2 diabetes. They also
         experienced reduced wait times for follow-up primary care.

         160.162.        On November 29, 2023, UnitedHealth held its annual investor

conference.         During the conference Robert Hunter, the Senior Vice President of

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UnitedHealthcare’s Medicare Advantage Product & Experience division, spoke about

HouseCalls, stating: “This year, we will conduct more than 2.5 million in-home visits

through our house calls program, completing approximately 200,000 tests for diabetes and

hep C, which are consistently underdiagnosed conditions,” and “[t]his year, we will screen

nearly 3.8 million people, helping connect them to necessary resources with over 40% of

those screenings occurring during a house calls visit.”

         161.163.         Defendants’ statements, as alleged in ¶¶136-160139-162, were false and

misleading when made. The true facts, which Defendants knew or recklessly disregarded,

were that:

                    (a)   UnitedHealth’s HouseCalls program was specifically designed to

conduct health risk assessments in members’ homes to generate unsupported diagnoses of

serious and chronic medical conditions in order to boost Medicare Advantage payments from

CMS. The HouseCalls program was being used to maximize UnitedHealth’s revenue,

without regard for actual member care, and in furtherance thereof:

                          (i)     HouseCalls nurses were forced to use questionnaires during

HouseCalls visits that were crafted to generate high-value diagnoses, without regard to the

members’ actual medical conditions (¶¶62-63, 190-64, 192);

                          (ii)    “Quality assurance” teams pressured HouseCalls nurses to link

symptoms to pre-existing chronic conditions without regard to medical necessity (id.);

                          (iii)   UnitedHealth induced members to participate in HouseCalls in-

home visits by paying them and offering other financial incentives (¶¶54, 6355, 64);



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                          (iv)   Providers were rewarded with substantial bonuses – tens of

thousands of dollars – for coding high-value diagnoses without a valid basis (¶¶80,194,

24684,196, 249); and

                          (v)    Providers and HouseCalls nurses were required to use inaccurate

and unreliable diagnostic tools to capture high-value diagnoses for certain serious medical

conditions (¶¶65-7469-78).

                    (b)   UnitedHealth’s upcoding scheme was so effective that it had the highest

average payments among other Medicare Advantage insurers of $2,735 for in-home

diagnosis per visit from 2019 to 2021 (¶¶64, 25165, 255). In 2021 alone, UnitedHealth

obtained $8.7 billion in payments from CMS for high-value diagnoses that no doctor treated,

which amount represented over 50% of the Company’s net income (¶¶84, 93, 188, 252). In

2022 and 2023, the fraudulent Medicare Advantage payments to UnitedHealth reached $10

billion and $11.2 billion, respectively (¶9389, 190, 256). In 2023, UnitedHealth reaped $3.2

billion in Medicare Advantage payments from diagnoses reported only on in-home health

risk assessments and health risk assessment-linked chart reviews, which was two-thirds of

the total risk adjusted payments CMS made to insurers that same year based on these

diagnosing methods. (¶¶18, 66, 237).

                    Defendants’ Misrepresentations About Internal Firewalls at
                    UnitedHealth and Its Optum Subsidiary

         162.164.         Defendants misrepresented UnitedHealth’s purportedly best-in-class

firewalls and their ability to maintain the integrity of customers’ data and CSI. As explained

above in ¶¶112-118114-120, for example, although no technical firewall existed for many


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intra-Optum businesses, Defendants falsely assured the markets that UnitedHealth had

“internal firewalls that prevent the sharing of competitively sensitive information across

business units.”

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         163.165.    On February 24, 2022, Optum published a “fact sheet,” defending the

Change acquisition. In the so-called “fact sheet” Optum asserted that the “theories at the

core of the [DOJ’s] case are completely without merit.” Optum also boasted about its

purported best-in-class firewalls: “Our track record of safeguarding our customers’

proprietary information speaks for itself. We have best-in-class firewalls and compliance

programs that maintain the integrity of our customers’ data and information, and prevent

unauthorized access and misuse. Combining with Change Healthcare alters none of those

fundamentals.”

         164.166.    On March 11, 2022, in its Answer to the DOJ complaint, UnitedHealth

“agreed to make binding commitments to its customers and the Government” to “maintain

its robust firewall processes – and extend them to Change’s business – to protect sensitive

customer data and provide information to customers to allow them to verify those firewall

processes.” UnitedHealth further claimed that “OptumInsight imposes strict limitations on

the use or disclosure of external customer data . . . .”

         165.167.    On March 17, 2022, UnitedHealth posted a document on its website

titled: “Benefits of Combination with Change Healthcare” addressing the DOJ’s lawsuit,

asserting that “Optum will maintain robust firewall processes and extend them to Change

Healthcare’s business – to protect sensitive customer data and provide information to

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customers to allow them to verify those firewall processes.” Underscoring its commitment

to data protection, UnitedHealth stated that Optum “invests extraordinary time, money, and

resources into safeguarding [customer sensitive] information and keeping it walled off

from UnitedHealthcare” and that “UnitedHealth Group’s existing firewalls and data-

security policies prohibit employees from improperly sharing external-customer

[information].”

         166.168.         In May 2022, UnitedHealth adopted a new firewall policy relating to the

proposed acquisition of Change. The policy explicitly addressed the sharing of customers’

CSI and stated:

                   “The disclosure of External Customer CSI to UHG business units that are
                    competitors of such External Customers is strictly prohibited”;

                   “The use of External Customer CSI to benefit UHG business units that are
                    competitors of such External Customers is strictly prohibited”;

                   “UHG employees may not access External Customer CSI unless such access
                    is necessary to perform their job responsibilities”; and

                   “External Customer CSI shall be logically separated from other UHG
                    business unit data within Electronic Data Sites. No employees of other
                    UHG business units that are competitors of an External Customer shall
                    have access to the location where External Customer CSI is stored within
                    such Electronic Data Sites.”

         167.169.         On June 14, 2022, UnitedHealth published its 2021 Sustainability

Report. In the report, the Company declared that it was “focused” on “maintaining data

privacy and cybersecurity,” expressly recognizing its “obligation” to “protect the

information of all those we serve.” UnitedHealth continued to assert that it was “required to

safeguard personal information reasonably and appropriately” and that the “[p]rimary

tools used to fulfill these obligations are cybersecurity and data privacy programs.”
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Further, the Sustainability Report explained that UnitedHealth “manages a robust

Information Security Risk Management and Privacy Program that improves its ability to

make risk-informed decisions by conducting systematic and structured reviews of

information security risks.” The results of these internal audits are then “communicated to

executive leadership and presented to the Audit and Finance Committee of the Board of

Directors quarterly.”

          168.170.      The June 14, 2022 Sustainability Report also addressed the Company’s

data protection policies and explained that its “data protection policy applies to all lines of

business and subsidiaries” and that its “Code of Conduct outlines our commitment to

protecting the information entrusted to us.            Supported by a comprehensive set of

principles, our policies and programs describe appropriate uses of data and the safeguards

that protect the confidentiality and integrity of our systems.” These policies include

“[e]nterprise information security policies,” “[p]rivacy and data protection policies,” and

“[a]n incident management program that encompasses cybersecurity, privacy and

compliance obligations.”

          169.171.      On July 22, 2022, as part of its effort to convince the court and prevail

at trial, UnitedHealth filed its Amended Pretrial Brief and stated that “UHG has an

‘advanced and sophisticated technology architecture and infrastructure’ of internal

firewalls that prevent the sharing of competitively sensitive information across business

units.”

          170.172.      On September 7, 2022, UnitedHealth filed its Post-Trial Brief and again

assured the court of how UnitedHealth had “operationalized its firewall policy through
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‘robust’ technological systems that prevent employees of one UHG business unit from

accessing data housed within another UHG business unit.”

         171.173.     Also on September 7, 2022, UnitedHealth filed its Proposed Findings of

Fact and stated:

         For years, UHG has maintained robust firewall and data security policies
         specifically designed to make sure customers’ potentially sensitive
         information is protected and not misused in any way. UHG commits to
         apply these same firewall and data security policies to customer data held by
         Change on behalf of Change’s EDI customers, and to uphold all contractual
         rights of Change’s customers to audit the protection and security of their
         data.

         172.174.     On November 29, 2022, UnitedHealth held its annual Investor

Conference, materials for which were publicly released on November 28, 2022. The

Conference Book highlighted the Company’s “long-established firewalls and strong legal,

reputational, ethical and financial incentives to protect patient and customer information.”

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         173.175.     On June 1, 2023, Witty represented UnitedHealth at the Bernstein

Strategic Decisions Conference. During the conference Witty acknowledged the Company’s

firewall requirements, noting that UnitedHealth was focused on improving performance by

“exploiting the core synergy between Optum and UnitedHealthcare as much as we possibly

can appropriately, of course, given the firewall requirements [that] are needed there.”

         174.176.     Defendant statements, as alleged in ¶¶163-173165-175, were false and

misleading when made. The true facts that were then known to Defendants were that: (i)

Optum, and its intracompany businesses, lacked both role-based security systems and a

technical firewall (¶¶112-118114-120); (ii) numerous Optum business applications,

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including Salesforce GO, Business Intelligence Data Warehouse, Data Governance Tracking

Systems, and Optum ERP Data Store, lacked sufficient role-based security protocols to

prevent users from one Optum business from accessing data from another Optum business

(¶114116); and (iii) Line of Business (LOB)             tags across over 100 systems within

UnitedHealthcare and Optum’s shared Consumer Database (CDB) were wrong or improperly

applied and did not prevent UnitedHealthcare employees from seeing Optum’s customer data

(¶118120).

                    Additional False and Misleading Statements in UnitedHealth’s
                    Code of Conduct

         175.177.         Throughout the Class Period, UnitedHealth maintained and published its

code of ethics, entitled: “Code of Conduct: Our Principles of Ethics and Integrity.” The

Code of Conduct was applicable to each of the Defendants as principal executive officers,

and senior financial officers of the Company. UnitedHealth’s Code of Conduct was

published on its website every day of the Class Period.

         176.178.         As discussed above, ¶¶46-12747-131, throughout the Class Period

Defendants engaged in a wrongful course of conduct that included: (i) implementing an

illegal upcoding scheme (¶¶46-9347-95); (2) failing to implement a technical firewall across

Optum’s businesses, allowing UnitedHealth to exploit competitor data (¶¶94-11896-120);

and (3) leveraging UnitedHealth’s monopoly-like dominance to engage in unfair anti-

competitive practices to consolidate its control over healthcare services, and eliminate

competition (¶¶124-127126-131). Each of these wrongful practices violated UnitedHealth’s

Code of Conduct and made the statements therein false and misleading.


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         177.179.      Specifically, under the section “Fair Competition and Fair Dealing:

UnitedHealth Group’s success is founded on honest competition,” the Code of Conduct

stated: “We seek competitive advantages only through legal and ethical business practices.

We succeed by outperforming our competitors honestly and fairly.”

         178.180.      UnitedHealth’s Code of Conduct more fully explained that:

                Many laws and regulations define and promote fair business practices
         to protect the competitive environment. For example, competition laws,
         known in the U.S. as antitrust laws, protect against practices that interfere with
         free competition. They are designed to promote a competitive economy in
         which each business enterprise has an opportunity to compete fairly on the
         basis of price, quality, and service, and in the employment marketplace. To
         comply with these laws, each employee, director, and contractor must deal
         fairly with the Company’s customers, service providers, suppliers,
         competitors, and employees. No employee or director should take advantage
         of anyone through unfair-dealing practices.

         179.181.      UnitedHealth’s Fair Competition and Fair Dealing Code of Conduct

also stated that Optum’s “provider businesses contract with competitors of

UnitedHealthcare and may receive competitively-sensitive information, which must be

protected, and sharing the data requested without review and approval by legal counsel

could be a form of unfair competition.”

         180.182.      Under the section “Government Interactions,” the Code of Conduct

recognized:

         All levels of government have enacted laws that define interactions with
         government officials and prohibit improper influence by private business in
         the government arena. Our compliance with these laws and regulations is
         crucial to upholding UnitedHealth Group’s core values, advancing our
         mission, maintaining UnitedHealth Group’s relationships in the public
         sector, and demonstrating that we are worthy of the public’s trust.



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         181.183.         The statements in UnitedHealth’s Code of Conduct, as detailed in

¶¶177-180179-182, were each false and misleading when made. The true facts, which

Defendants knew or recklessly disregarded, were that:

                    (a)   UnitedHealth’s HouseCalls program was specifically designed to

conduct health risk assessments in members’ homes to generate unsupported diagnoses of

serious and chronic medical conditions in order to boost Medicare Advantage payments from

CMS. The HouseCalls program was being used to maximize UnitedHealth’s revenue,

without regard for actual member care, and in furtherance thereof:

                          (i)     HouseCalls nurses were forced to use questionnaires during

HouseCalls visits that were crafted to generate high-value diagnoses, without regard to the

beneficiaries’ actual medical conditions (¶¶62-63, 190-64, 192);

                          (ii)    “Quality assurance” teams pressured HouseCalls nurses to link

symptoms to pre-existing chronic conditions without regard to medical necessity (id.);

                          (iii)   UnitedHealth induced members to participate in HouseCalls in-

home visits by paying them and offering other financial incentives (¶¶54, 6355, 64);

                          (iv)    Providers were rewarded with substantial bonuses –tens of

thousands of dollars – for coding high-value diagnoses without a valid basis (¶¶80,194,

24684,196, 249); and

                          (v)     Providers and HouseCalls nurses were required to use inaccurate

and unreliable diagnostic tools to capture high-value diagnoses for certain serious medical

conditions (¶¶65-7469-78).



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                    (b)   UnitedHealth’s upcoding scheme was so effective that it had the highest

average payments among other Medicare Advantage insurers of $2,735 for in-home

diagnoses per visit from 2019 to 2021 (¶¶64, 25165, 255). In 2021 alone, UnitedHealth

received $8.7 billion in payments from CMS for high-value diagnoses that no doctor treated,

representing more than 50% of the Company’s FY 2021 net income (¶¶84, 93, 188, 252). In

2022 and 2023, the fraudulent Medicare Advantage payments to UnitedHealth reached $10

billion and $11.2 billion, respectively (¶9389, 190, 256). In 2023, UnitedHealth reaped $3.2

billion in Medicare Advantage payments from diagnoses reported only on in-home health

risk assessments and health risk assessment-linked chart reviews, which was two-thirds of

the total risk adjusted payments CMS made to insurers that same year based on these

diagnosing methods. (¶¶18, 66, 237);

                    (c)   (i) Optum, and its intracompany businesses, lacked both role-based

security systems and a technical firewall (¶¶112-118114-120); (ii) numerous UnitedHealth

business applications, including Salesforce GO, Business Intelligence Data Warehouse, Data

Governance Tracking Systems, and Optum ERP Data Store, lacked sufficient role-based

security protocols to prevent users from one Optum business from accessing data from

another Optum business (¶114116); and (iii) Line of Business (LOB) tags across over 100

systems within UnitedHealthcare and Optum’s shared Consumer Database (CDB) were

wrong or improperly applied and failed to prevent UnitedHealthcare employees from seeing

Optum’s customer data (¶118120); and

                    (d)   Defendants were using Optum’s dominance in the provider market to

engage in anti-competitive practices designed to monopolize local primary care provider
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markets (¶¶41, 12542, 127). Defendants were also pressuring doctors to remain within

Optum’s network through restrictive contracts and non-compete clauses and engaging in

misleading practices to retain patients from going to competitors (¶¶125-127-129).

UnitedHealthcare was also using its market dominance to pressure its in-network doctors and

healthcare facilities to stop working with healthcare providers outside of UnitedHealthcare’s

network, and incentivizing its in-network doctors to steer patients away from out-of-network

providers and Optum’s competitors (id.).

           ADDITIONAL INDICIA OF SCIENTER

                    The Individual Defendants’ Frequent Discussions of Housecalls
                    and Medicare Advantage with Analysts Confirms Their
                    Intimate Knowledge of the Upcoding Scheme

           182.184.       Individual Defendants Witty and Thompson were particularly focused

on the potential for the Medicare Advantage businesses – and HouseCalls in particular – to

increase the Company’s revenue. They often spoke about the programs to analysts,

demonstrating actual, intimate knowledge of this aspect of UnitedHealth’s business.

           183.185.       For example, during the October 14, 2021 Q3 2021 earnings call with

investors, Thompson confirmed his awareness of and focus on the daily operations of the

HouseCalls program when he responded to a question about the status of the program in light

of the COVID-19 pandemic, noting “we are encouraged by the encounters with the

physicians, the primary care visits and annual wellness visits as well as in-home clinical

visits.”

           184.186.       Witty also expressed his keen focus on the HouseCalls and Medicare

Advantage programs. During the Company’s annual investor conference on November 30,

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2021, Witty praised the HouseCalls program as a “true collaboration between Optum and

UnitedHealthcare, where our clinicians help seniors in Medicare Advantage programs” and

noted that “[o]ur [HouseCalls] clinicians will make about 2 million home clinical visits in

2021, leading to hundreds of thousands of referrals for much needed care.”

         185.187.      Then, during the Company’s January 19, 2022 Q4 2021 earnings call,

Witty again demonstrated his knowledge of the day-to-day operations of the HouseCalls

program:

         OptumCare has developed a whole set of capabilities to deliver really
         enhanced focus on [Medicare Advantage] patients. Obviously, these patients
         have a high medical need very often. They need high touch. I’ve been super
         impressed with the development, not just in the clinic, but also through the at-
         home programs, where we’re able to continue to make sure folks are looked
         after properly.

         186.188.      During the Company’s Q2 2022 earnings call held on July 15, 2022,

Witty extolled the virtues and importance of HouseCalls, saying the program had “delivered

amazing health assessment and preventive direction to millions of people.” And on the

Company’s July 14, 2023 Q2 2023 earnings call, Witty discussed a study that was done by

Optum, in conjunction with Yale Medical School, which looked at the potential health

benefits of the HouseCalls program.

         187.189.      In short, throughout the Class Period, defendants Witty and Thompson

each spoke in detail about the HouseCalls program, addressing the questions of analysts and

demonstrating their focus and in-depth knowledge of that aspect of UnitedHealth’s business.




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                    The Upcoding Scheme Required Participation Throughout the
                    Company

         188.190.        UnitedHealth’s upcoding scheme represents a central part of

UnitedHealth’s business and was a primary source of UnitedHealth’s revenue. Indeed, in

2021 alone, UnitedHealth added $8.7 billion in revenue from diagnoses that did not result in

any treatment. The Company depended on coordinated efforts and policies across multiple

working groups in order to achieve this shocking result.

         189.191.        For example, UnitedHealth actively trained its providers to add

unwarranted diagnosis codes to patient charts during in-home visits. As evidenced by

audiotapes leaked to the media, UnitedHealth executives convened meetings whose purpose

was to coach nurses and administrators to use “‘buddy codes’” to add unwarranted diagnoses

to charts for patients with related conditions.

         190.192.        Also, UnitedHealth systematically pressured providers who performed

HouseCalls to add as many new diagnoses as possible. On the HouseCalls, providers

(usually nurse practitioners) completed questionnaires about each patient’s health and had

the opportunity to add diagnoses based on the answers. UnitedHealth employed a so-called

“quality assurance” team that then reviewed these questionnaires, checking them to make

sure that the provider had maximized all available high-value diagnosis codes. If any codes

were missed, reviewers from the quality assurance team pressured the provider to add them.

         191.193.        The Company also issued laptops to HouseCalls providers with pre-

loaded software designed to guide their evaluations and add diagnoses. UnitedHealth

calibrated the software specifically to maximize the number of diagnoses based on patients’


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medications and responses, and then present those potential diagnoses into a “diagnosis cart”

for the provider to quickly approve.

         192.194.    UnitedHealth also purchased and distributed equipment to providers

specifically for the purpose of adding unwarranted diagnoses, the use of which was designed

to generate revenue for UnitedHealth without regard to the medical needs of its members.

Specifically, UnitedHealth bought and required the use of the QuantaFlo device in search of

a relatively rare but lucrative diagnosis called peripheral artery disease. Notoriously

unreliable and prone to returning false positive results, the device purported to measure

blood circulation. UnitedHealth required providers to use the unreliable device – and

nothing else – to make the diagnoses of peripheral artery disease, and paid additional

compensation to providers who used it regularly. In 2019 to 2021 alone, UnitedHealth

diagnosed this condition 568,000 times after in-home visits, leading to $1.4 billion in

payments.

         193.195.    The Company also employed a team of risk-adjustment coders in India,

who it trained to find the highest value diagnosis codes, and then coach providers to add

them. UnitedHealth evaluated the job performance of risk-adjustment coders based on how

much upcoding they performed.

         194.196.    UnitedHealth also modified its growth strategy to target provider groups

that could assist with the Medicare Advantage fraud. Since 2010, UnitedHealth acquired

hospitals, doctors’ offices, and clinics at an aggressive rate, until it controlled 10% of the

physicians in America. Then, it implemented a nationwide practice of pushing its clinicians

to document as many ailments as they could by offering bonuses to “high” performers and
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reprimanding doctors who were not coding as much as their peers.                    As a result,

UnitedHealth’s physicians diagnosed lung disorders, vascular conditions, and kidney disease

at more than two times the rate of those in the traditional Medicare program.

                    Testimony, Internal Communications, and Internal Reports
                    Unsealed During the Change Antitrust Trial Support a Strong
                    Inference of Scienter

                           UnitedHealth Targeted Change Healthcare Specifically to
                           “Utilize” Claims Data and Customer Sensitive
                           Information

         195.197.          Leading up to the Change deal, UnitedHealth and Optum hired the

consulting giant McKinsey & Company to assess the value of Change. In particular,

according to testimony from Optum senior executives Robert Musslewhite and Chris

Hasslinger, UnitedHealth tasked McKinsey & Company with assessing the value of the data

Change had access and rights to.20

         196.198.          McKinsey prepared a January 2020 presentation analyzing the value to

UnitedHealth of obtaining Change’s data, which concluded that Change:

                   “enjoys [the] broadest and deepest datasets in several categories,” with
                    “unrestricted access under HIPAA guidelines”;

                   had a high depth and breadth of data assets for commercial claims;

                   “manages the highest volume of claims compared to any other EDI competitor
                    as well as a large percentage of longitudinal data sets that are more valued”;
                    and

                   “connects to >70% of all payers, providers, pharmacy and physician orgs.”

20
    Musslewhite has been the CEO of Optum Insight since August 2019. Hasslinger was
Senior Vice President at Optum, responsible for acquisitions and partnerships at Optum
Insight, until August 2021.


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         197.199.          According to the January 2020 presentation, McKinsey & Company

concluded that UnitedHealth could “‘utilize transactions intelligence’” from Change’s claims

data to “‘optimize benefit design’” for UnitedHealthcare, UnitedHealth’s insurance business.

That is, acquiring Change could help UnitedHealthcare, already the biggest health insurer in

the country, gain a further edge over its rivals by giving it access to some of the most crucial

information in that business: claims data from rival insurers.

         198.200.          UnitedHealth’s deal team cited this type of data use when it presented

the potential acquisition to the Company’s then-CEO in April 2020. Change’s data could

yield what was euphemistically referred to as “‘improved medical policy and benefit

design’” for UnitedHealthcare, the deal team wrote in a subsequent memo. The data could

also help UnitedHealthcare track the pricing of medical procedures and expand insurance

underwriting. The deal team also recognized a glaring concern: using Change’s data in some

of these ways could raise “‘antitrust concerns.’”

         199.201.          Even though Defendants repeatedly emphasized the existence and

integrity of their “data firewalls” in defense of the Change acquisition, a February 21, 2021

internal memorandum instead emphasized that Optum and UnitedHealthcare needed to focus

on “Enterprise thinking,” noting:

                    Where to start . . .

                 We have SO much opportunity to put the breadth of our capabilities on
         full display and achieve true synergy and scale gains from our extensive
         capabilities. We need to stop thinking that just because we need to have
         financial and data firewalls between Optum and UHC means we can’t show
         up together and harness the capabilities of both organizations together. We
         need to take a deep look at how success is defined for each operating unit
         and how performance is rewarded and stop any compensation / reward plans

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         that unintentionally inhibit Enterprise thinking or worse create moral
         hazards or incongruency with our strategic growth objectives. We need to
         improve our CRM systems and stop operating with many different instances of
         sales force that don’t talk to another at some level. We need to continue the
         Enterprise Growth work aimed at building a total comprehensive view of our
         top existing and prospective accounts.

         200.202.       A March 3, 2021 email from Daniel Schumacher, UnitedHealth’s Chief

Strategy & Growth Officer, to CEO Witty was more direct: “Be explicit about what

information we are going to share between companies . . . not just grant permission, but

require it . . . .”21

         201.203.       David Wichmann, UnitedHealth CEO from September 2017 through

March 2021, testified that UnitedHealth’s access to Change’s data acted as “‘the foundation

by which the business case was made’” for the acquisition. Wichmann also testified that

Change’s data was part of the strategic asset justifying the acquisition, stating that “‘a

network with no data isn’t worth very much.’”

                        UnitedHealth’s and Optum’s Track Record of Data
                        Governance Failures, Including Unauthorized Database
                        Access

         202.204.       UnitedHealth has repeatedly granted UnitedHealth employees or Optum

employees assigned to UnitedHealth projects access to sensitive data of external competitors.

Despite assurances that its antitrust compliance policy prohibited sharing external payers’

data with UnitedHealth, Peter Dumont, the current Chief Data Governance Officer at

UnitedHealth, admitted during the Change antitrust trial that UnitedHealth classified many

21
    Schumacher is responsible for driving the Company’s long-term strategy including
enterprise growth, marketing, and consumer organizations as well as strategic client
relationships, enterprise partnerships, and the financial services business.


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competitively sensitive fields of the external payer data as “standard” fields available to

employees across a broad array of UnitedHealth business units.22 For example, the “covered

amount” – i.e., the portion of a claim covered by the payer’s plan – was classified as

“standard” information and available across databases.

         203.205.         UnitedHealthcare and Optum also kept permission logs, which

document when employees access information outside their business unit. These permission

logs confirm that employees regularly accessed information outside their business unit.

UnitedHealth’s permission logs confirm that the employees granted access to external

customer data have included:

                   A Director of Healthcare Economics for UnitedHealth’s commercial health
                    insurance business.

                   A Healthcare Economics Consultant for UnitedHealthcare Networks.

                   A Director of Data Science for UnitedHealthcare’s Government Benefit
                    Operations Segment.

                   A Director of Data Analytics for UnitedHealthcare’s Clinical Services
                    Segment.

                   A Business Analyst Consultant for UnitedHealthcare’s Medicare &
                    Retirement segment.

                   A Senior Manager of Data Science for UnitedHealthcare’s Clinical Services
                    Segment.

                   An Associate Director of Business Analysis for UnitedHealthcare’s Payment
                    Integrity Strategic Performance Division.


22
   Previously, from April 2011-March 2021, Dumont was Vice President, Privacy at
Optum, and from April 2021-October 2023 was Chief Privacy Officer at Optum Labs,
UnitedHealth.


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                   A Senior Director of Actuarial Services for UnitedHealthcare’s Medicare &
                    Retirement Underwriting and Healthcare Economics Division.

                   An Optum Insight employee who received access for “‘a contract with United
                    Healthcare Employer & Individual to provide de-identify [sic] benchmarking
                    data.’”

                   An Optum Insight employee who received access for “‘a funded agreement
                    with [UnitedHealthcare] to do cost predictions for various groups from E&I,’”
                    which is UnitedHealth’s commercial health insurance business.

                   An Optum Insight employee who indicated that “‘currently access is required
                    to fulfill my role to pull and analyse [sic] data for a [UnitedHealthcare] group
                    pricing project.’”

         204.206.          UnitedHealth’s recordkeeping practices obscure the full extent and

frequency of improper access. UnitedHealth has no access logs for its dNHI database – an

Optum database containing de-identified claims data – before May 2021, approximately

three months after the government’s investigation began.23 Prior to that time, according to

Dumont, UnitedHealth determined who improperly accessed data, only by informally asking

employees orally whether they accessed any non-UnitedHealth data, without confirming

anything in writing. Dumont also testified that UnitedHealth did not notify any of the other

payers that UnitedHealthcare-affiliated employees had access to their data.

         205.207.          UnitedHealth frequently authorizes access to payer data even when

squarely prohibited by contract. Under Optum Rx’s contracts with its external customers,


23
    For the period from May through October 2021, UnitedHealth provided the government
only a partial access log that omitted employee numbers, making the data impossible to
match for a large share of employees. Thus, the only access log that the government could
effectively use begins in November 2021. Even the data on employees’ access rights lack
information on a substantial share of employees’ email domains and roles within
UnitedHealth.


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“‘[UnitedHealthcare] employees are not allowed to see or use the non-[UnitedHealthcare]

book of business.’” Contrary to these agreements, UnitedHealth admits it granted “‘a

handful’” of UnitedHealthcare-affiliated employees access to the Optum Rx external

customer data in dNHI. A manager responsible for maintaining dNHI, Timothy Josephson,

informed Dumont about improper access in January 2021, adding he “‘was not aware of the

restrictions on access to the non-[UnitedHealthcare] OptumRx claims.’” In response,

Dumont responded: “‘I’m [sic] don’t have serious concerns’” about the improper access

because the “‘data is de-identified in compliance with HIPAA,’” disregarding the severe

antitrust implications. Again, UnitedHealth and Optum never notified its external customers

about the access, even though it was regularly breaching its contractual commitments to

these customers by sharing their information with UnitedHealthcare.

         206.208.    UnitedHealth employees also engaged in mass downloads of external

customer data, with one such download occurring as recently as March 2022. Dumont

testified that in a “‘very, very concerning’” prior incident, UnitedHealthcare employees

“‘access[ed] their competitors[‘][’] data,’” and “‘actually copied [such data] over into

[UnitedHealthcare’s] own case tracking system.’” This security breach again reflects the

lack of reliable safeguards implemented by Optum and the regularized breaching of

contracts. Dumont confirmed that despite learning of that lapse no later than December

2021, UnitedHealth’s data governance employees failed to take affirmative action until at

least March 2022. In the interim, in January 2022, Optum data security employees internally

discussed “‘a more aggressive timeline,’” but determined they “‘d[idn’t] want to look for



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problems,’” so they were not “‘mak[ing] much headway,’” but in fact “‘going backwards

from our last discussion’” (alterations in original).

         207.209.         Defendants have been given clear notice of UnitedHealth and Optum’s

data governance failures, but declined to remediate them. Witty testified that in December

2021, UnitedHealth’s Internal Audit and Advisory Services conducted an audit of

UnitedHealth’s data management practices, stating: “‘Given the potential pervasiveness and

severity of the observations noted during the assessment,’” the auditors “‘assigned a rating of

Needs Improvement to the Data Governance Internal audit.’” In particular, UnitedHealth’s

internal auditors concluded that there was:

                   a “‘heightened risk of data being mismanaged’” at Optum;

                   “‘no effective means of enforcement if or when data misuse is discovered or
                    reported’” leading to a “risk that the [Enterprise Data Management Office]
                    will be unable to effectively intervene and reinforce data management
                    practices” (alteration in original).

         208.210.         Mr. Witty forwarded the report to his COO, writing: “‘A lot to do

here.’” But Witty testified that in June 2022 – six months later – he still did not know

whether any changes had been made to strengthen UnitedHealth’s data governance.

                    Defendants Engaged in Multiple Suspicious Rounds of Insider
                    Trading

         209.211.         Defendants made a series of unusual insider trades during the Class

Period. Importantly, none of the sales were executed according to scheduled trading plans.

                          Hemsley Sold Shares as Media Outlets Began to Question
                          UnitedHealth’s Medicare Advantage Practices

         210.212.         In September 2021, the OIG published a report demonstrating that

insurance companies with MA Plans were leveraging chart reviews and in-home visits to
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maximize risk-adjusted payments from CMS. The OIG report grabbed media attention, with

the WSJ and the Minnesota Star Tribune publishing articles referring to the report on

September 22, 2021 and October 19, 2021, respectively.

         211.213.     Not coincidentally, Hemsley then dumped UnitedHealth shares. In a

period of just 2 days, October 25 and October 26, 2021, Hemsley unloaded 125,000 shares of

UnitedHealth common stock for sales proceeds of over $56 million. Collectively, these sales

represent Hemsley’s second-largest sale during the Class Period.24 This two-day sale is also

larger than any sale Hemsley made during the two-and-a-half year period from April 17,

2019 through September 21, 2021 (the “Control Period”), except one.25

                      Defendants Sold Shares Heading into the Change
                      Antitrust Trial Concerning UnitedHealth’s Purchase of
                      Change Healthcare

         212.214.     The trial to determine whether UnitedHealth and Optum would be

permitted, under the antitrust laws, to proceed with their purchase of Change began on

August 1, 2022. Up to that point, Defendants had insisted that the transaction should go

through because UnitedHealth would maintain robust firewall processes and extend them to

Change’s business. UnitedHealth also assured the public that Optum “invests extraordinary


24
     The largest sale, on October 17, 2023, is also highly suspicious. See §VI.D.3, infra.
25
    The Control Period is a time period equivalent in length to the Class Period that
immediately precedes the Class Period. During the Control Period, Hemsley made a series
of large sales in May, July, and October of 2020. The largest collective sale occurred during
a 2-day span on July 16 and July 17, 2020, when Hemsley sold 59,012 UnitedHealth shares
for proceeds of $18.1 million and 170,000 UnitedHealth shares for proceeds of $52.3
million, respectively. Media outlets noticed these outsized sales and attributed them to the
financial market’s “epic rebound” following the COVID outbreak in March 2020.


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time, money, and resources into safeguarding [customer sensitive] information and keeping

it walled off from UnitedHealthcare” and that “UnitedHealth Group’s existing firewalls and

data-security policies prohibit employees from improperly sharing external-customer

[information].”

         213.215.   But, as explained above, Optum, and its intracompany businesses,

lacked both role-based security systems and a technical firewall. See §IV.C.4, supra. On

July 18, 2022, Witty made his largest sale of the Class Period, dumping more than 11,000

shares of UnitedHealth common stock for proceeds of more than $6 million. This sale is

also twice as large as the only transaction Witty made during the Control Period.

         214.216.   Shortly thereafter, on July 26, 2022, Hemsley sold off another 99,000

shares of UnitedHealth common stock for proceeds of an additional $53 million. This was

Hemsley’s third-largest sale during the Class Period.26 It was larger than any single-day

sales he made during the Control Period, in terms of proceeds.

                    Defendants Sold Shares Upon Receiving Nonpublic
                    Information that the DOJ Was Opening a New Antitrust
                    Investigation

         215.217.   As detailed above, on October 10, 2023, UnitedHealth received notice

that the DOJ had launched a “‘non-public antitrust investigation into the company.’” See

§IV.G, supra. While news of the new antitrust investigation circulated inside the Company,

Defendants decided to unload their UnitedHealth shares.



26
   Hemsley’s other two sales during the Class Period were also highly unusual. See
§§VI.D.1-2, infra.


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         216.218.     On October 17, 2023, one week after UnitedHealth was notified of the

DOJ antitrust investigation, Hemsley again dumped another 121,515 shares of UnitedHealth

stock for proceeds of over $65 million. This represents, by far, Hemsley’s largest single-day

transaction at any time during the Class Period or the Control Period.

         217.219.     Hemsley continued his sell-off on December 5, 2023, selling over

66,081 UnitedHealth shares for additional proceeds of more than $36 million.

         218.220.     In total, over the course of the Class Period, Hemsley made 7 suspicious

sales, dumping over 400,000 UnitedHealth shares – 21.4% of his holdings – for proceeds of

$212 million.

         219.221.     On February 16, 2024, Thompson engaged in his only transaction

during either the Class Period or the Control Period, unloading nearly 29,000 shares of

UnitedHealth common stock – 31.4% of his holdings – for proceeds of over $15 million.

         220.222.     Hemsley’s and Thompson’s sales were so suspicious they caught the

attention of Congress. They prompted United States Senators Elizabeth Warren and Edward

Markey, along with 15 members of the United States House of Representatives, to write a

joint letter to the SEC on April 29, 2024, urging it to conduct an investigation into the nature

of the sales (the “Letter”). The Letter noted that the “timing of these trades . . . raises

numerous questions” about whether Hemsley and Thompson had violated federal laws that

prohibit trading while in possession of material, nonpublic information.

         221.223.     Industry experts also flagged the sales as suspicious. Professor John

Coffee, a corporate governance expert at Columbia Law School and one of the leading

experts on securities-fraud, told Bloomberg News: “Typically a company’s general counsel
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would declare a blackout period barring trading in light of a sensitive investigation . . . .

‘Apparently, this did not happen’ at UnitedHealth . . . .”

                    Defendants’ Anti-Competitive Scheme Infected the Core of
                    UnitedHealth’s Business

                          UnitedHealthcare’s Medicare Advantage Business,
                          Including the HouseCalls Program, Was a Core
                          Component of UnitedHealth’s Business

         222.224.         During the Class Period, UnitedHealthcare’s Medicare & Retirement

division represented a substantial percentage of the Company’s total revenue. According to

the Company’s own SEC filings, for the years 2021 to 2023, UnitedHealthcare represented,

by far, the largest of UnitedHealth’s four reportable segments,27 and was bigger than all of

the Optum businesses combined:




         223.225.         Moreover, the Medicare & Retirement branch of UnitedHealthcare

represented nearly half of UnitedHealthcare’s revenue, itself larger than any of the other

reportable segments of UnitedHealth’s business:




27
     UnitedHealthcare, Optum Health, Optum Insight, and Optum Rx.


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         224.226.    For each of 2021, 2022, and 2023, UnitedHealthcare’s Medicare &

Retirement business represented approximately 35% of UnitedHealth’s total revenues across

all reporting segments.

                     Optum’s 2022 $13 Billion Acquisition of Change
                     Healthcare Garnered National Attention and Federal
                     Scrutiny

         225.227.    In October 2022, UnitedHealth and Optum finalized the purchase of

Change, a healthcare technology company and data clearinghouse that facilitates transactions

and communications between insurers and healthcare providers. With a price tag of $13

billion, UnitedHealth’s acquisition of Change represented its largest transaction ever. When

the deal was announced, in January 2021, it was hailed by UnitedHealth as a union that

would “effectively connect and simplify core clinical, administrative and payment processes

– resulting in better health outcomes and experiences for everyone, at lower cost.”

         226.228.    The deal was of national significance. In February 2022, the DOJ filed

a lawsuit seeking to enjoin the acquisition on antitrust grounds. In their announcement of the

suit, the DOJ warned that the “proposed transaction would give United, a massive company

that owns the largest health insurer in the United States, access to a vast amount of its rival

health insurers’ competitively sensitive information” that would enable the Company to

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“gain an unfair advantage and harm competition in health insurance markets.” In response,

UnitedHealth publicly and repeatedly pledged to utilize “firewalls” within its systems to

prevent other business unites from using any potentially anti-competitive information held

by Change. Rather than give them an illegal advantage over their competitors, UnitedHealth

insisted that the merger was “aimed at addressing the more than $100 billion in

administrative waste in the United States healthcare system due to inaccuracies in the claims

payment system.”

         227.229.        During the trial to determine whether the acquisition would be allowed

to move forward, numerous high-level current and former senior executives gave testimony

including defendant Witty, UnitedHealth COO Dirk McMahon, former UnitedHealth CEO

David Wichmann, UnitedHealth Chief Growth Strategy Officer Daniel Schumacher, former

Change CEO/Current Optum Insight CEO Neil de Crescenzo, Optum Insight CEO for

Administrative Solutions Steve Yurjevich, Optum Insight CEO Robert Musslewhite, and

former UnitedHealthcare CEO, Employer and Individual William Golden, among others.

                    UnitedHealthcare’s Anti-Competitive Conduct

         228.230.        UnitedHealth and its subsidiaries have a long history of unlawful

conduct, including fraud, manipulation, and anti-competitive conduct in order to unlawfully

extract more money from the government and UnitedHealth consumers. UnitedHealth has

been embroiled in public and private lawsuits concerning its anti-competitive conduct, and

paid out hundreds of millions of dollars in settlements to resolve them.

         229.231.        Ingenix Data Fraud. In 2008, the New York Attorney General

investigated and ultimately filed suit against the predecessor to Optum Insight, Ingenix, Inc.

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The healthcare information company collects, sorts, and analyzes a large array of healthcare-

related data, including therapeutic outcomes and billing information, and then sells its

datasets and analyses to healthcare insurers. The New York Attorney General accused

Ingenix, and by extension UnitedHealth, of operating a “defective and manipulated database”

that distorted data in order to reach desired conclusions. For example, Ingenix would

manipulate data or outcomes to artificially decrease a region’s calculated customary

reimbursement rates. Insurers could then refuse to cover charges above the artificial custom

rates, and thereby “force patients to absorb a higher share of the costs” for medical services.

The New York Attorney General provided a “clear example” of how this manipulation of the

“reasonable and customary” cost of healthcare in the Ingenix database benefited insurers like

UnitedHealth:

         United insurers knew most simple doctor visits cost $200, but claimed to their
         members the typical rate was only $77. The insurers then applied the
         contractual reimbursement rate of 80%, covering only $62 for a $200 bill, and
         leaving the patient to cover the $138 balance.

         230.232.      Consumers questioned UnitedHealth’s low reimbursement rates but the

Company hid their secret connection to Ingenix.             Instead, it told consumers the

reimbursement rates were the product of “‘independent research,’” as opposed to the self-

serving manipulations of its sister company.

         231.233.      The United States Senate launched its own investigation, holding two

hearings regarding the use of the Ingenix database in March of 2009. On June 24, 2009, the

Committee on Commerce, Science, and Transportation published a staff report that

quantified the impact of the manipulation of the Ingenix database on healthcare consumers.


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That report concluded that “American consumers have paid billions of dollars for health care

services that their insurance companies should have paid.”

         232.234.    On October 27, 2009, the New York Attorney General announced that it

had settled with UnitedHealth and the other insurers accused of utilizing the manipulated

Ingenix database. As part of the settlement, UnitedHealth agreed to shut down the Ingenix

database and contribute $50 million to the creation of a new, independent, nonprofit database

that insurers would use to calculate reimbursement rates going forward. In December 2009,

UnitedHealth settled a related private case with the American Medical Association for $350

million.

         233.235.    Medicare Fraud. In 2017, the DOJ joined a whistleblower lawsuit

originally filed in 2011. The suit, filed in California, alleges that UnitedHealth exaggerated

the medical needs of patients in order to collect higher payments from Medicare in violation

of the False Claims Act of 1863 (“False Claims Act”). The suit remains ongoing and the

parties’ motions for summary judgment are currently pending before the court.

         234.236.    In September 2021, a report from the U.S. Department of Health and

Human Services’, Office of the Inspector General accused UnitedHealth of the same conduct

alleged here (the OIG report). According to the OIG report, UnitedHealth manipulated

health risk assessments and chart reviews of its members using Medicare Advantage. The

OIG report found that many insurers engaged in the fraudulent practice, but that

UnitedHealth “stood out” as it had “40 percent of the risk-adjusted payments” even though it




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enrolled “only 22 percent of [Medicare Advantage] beneficiaries.”28 The scheme was

extremely fruitful – Defendants’ scheme allowed UnitedHealth to pocket $3.7 billion in

additional, unnecessary risk-adjusted payments in 2017 alone.29

         237.       In October 2024, the OIG released another report again accusing UnitedHealth

of the same conduct alleged here in 2022. According to the report, in 2023, based on

submissions of 2022 data, UnitedHealth received $3.2 billion in Medicare Advantage

payments based solely on diagnoses derived from in-home health risk assessments and health

risk assessment-linked chart reviews. The $3.2 received by UnitedHealth accounted for two-

thirds of the total risk-adjusted payments CMS made to insurers in 2023 using of these

diagnosing methods, even though UnitedHealth covered only 28% of 2022 Medicare

Advantage members.

         235.238.         Reimbursement Rate Fraud. In November 2019, the Ohio State

Attorney General sued Optum Rx for overcharging Ohio State Bureau of Workers

Compensation for prescription drugs. Optum Rx is a PBM under the UnitedHealth umbrella,

meaning that it manages prescription drug costs and negotiates with pharmacies on behalf of

state agencies. The Ohio lawsuit alleged that, as the PBM contracted to manage drug prices

for the Bureau of Workers Compensation, Optum Rx “breached its contract by applying an

incorrect reimbursement rate to certain claims for generic drugs and by failing to achieve a



28
     See Exhibit 7.
29
    The OIG report did not list UnitedHealth by name, but later media reports revealed that
the top perpetrator was UnitedHealth.


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target reimbursement rate for certain pharmacy claims.” In October 2022, Optum Rx

reached a $15 million settlement.

                    The Abrupt Departure of UnitedHealth’s Chief Information
                    Security Officer

         236.239.         On December 11, 2023, just months prior to the breach, UnitedHealth

terminated its employment relationship with UnitedHealth’s Chief Information Security

Officer, Aimee Cardwell. Ms. Cardwell served as Executive Vice President and Chief

Information Security Officer at UnitedHealth from 2020 until 2023, where she was

responsible for overseeing the Company’s cyber-risk efforts. Prior to that, she was the Chief

Information Officer at Optum Financial.           The data breach that exposed Change to

ransomware occurred on February 21, 2024. Tellingly, UnitedHealth kept the departure of

such a high-profile and vital cyber-security executive under wraps.

         POST-CLASS PERIOD EVENTS

         237.240.         After announcement of the DOJ investigation stoked investors’ fears

about UnitedHealth’s widespread misconduct, several post-Class Period articles and, events,

and government findings provided more evidence and detail surrounding the Company’s

malfeasance.

                    Secret Recording of Internal UnitedHealth Meeting Confirms
                    UnitedHealth’s Upcoding Scheme

         238.241.         On March 18, 2024, The Examiner News published a recording from a

January 26, 2024 UnitedHealth meeting, where executives coached nurses how to upcode

and drive UnitedHealth profits. The call included Dr. Kevin Baran, a physician who worked

in a management capacity at UnitedHealth, Optum East Director of Clinical Documentation

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Education Rachelle Gauvin, and Vice President of Risk Adjustment Christy Bauer. The

audio files further evidence the manner in which UnitedHealth coached nurses and

administrators to confront doctors who challenged medical conditions UnitedHealth sought

to add to a patient’s chart. One executive instructed UnitedHealth employees to tell resistant

doctors: “‘“We presented this supported medical condition to you, and you disagreed with it.

Let me explain to you what the CMS definitions are around the condition, and then I’d love

to hear more about why you felt it might not be appropriate for this patient.”’”.”‘“ The

executives also instructed the nurses and administrators to add diagnoses through “‘buddy

codes,’” where one diagnosis would automatically lead to the addition of related diagnoses.

On the audio files, one nurse asked the UnitedHealth executives whether a resource existed

explaining the paired codes, but Dr. Baran acknowledged that UnitedHealth had made them

up, and that: “‘No one else will know what you’re talking about outside of this room.’”

                    United States Lawmakers Implore the SEC to Open an
                    Investigation into Defendants’ Suspicious Insider Trading

         239.242.         As detailed above, several UnitedHealth executives sold their shares of

UnitedHealth common stock while in possession of highly relevant, nonpublic information –

the DOJ opening a new antitrust investigation. See §IV.G, supra. Defendants Hemsley and

Thompson were among the sellers, and collectively sold roughly 216,000 shares of

UnitedHealth stock for combined proceeds of over $117 million.

         240.243.         The unusual timing of these trades and the fact they were out of line

with prior trading practices, was sufficient to move 17 United States lawmakers, including

Senators Elizabeth Warren and Edward Markey of Massachusetts along with 15 members of


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the House of Representatives, to send the joint Letter to the SEC urging the opening of an

investigation into these trades. Specifically, the Letter requested that the SEC determine

whether any of the individual executives who sold UnitedHealth shares (including

Thompson and Hemsley) or the Company itself had violated federal laws or regulations.

         241.244.    Senators Warren and Markey, along with their colleagues from the

House of Representatives, did not mince words. The conduct of UnitedHealth and its

executives, they felt, exhibited a “disturbing fact pattern” – even more so because the

executives had made their sales outside of the context of a scheduled trading plan. The

Letter also pointed out that it would have been typical, under such circumstances, for

UnitedHealth’s general counsel to have declared a blackout period which would have barred

trading by executives until such time as the DOJ investigation was made public.

         242.245.    The Letter admonished that “[t]he timing of these trades . . . raises

numerous questions,” and called attention to the fact that, in selling when they did, the

UnitedHealth executives, including Hemsley and Thompson, managed to shield their

personal holdings from the 5.2% drop in the price of UnitedHealth stock that occurred when

the news of the investigation became public. That benefit, of course, was denied to the

Plaintiff and the rest of the putative Class in this matter. The Letter emphasized the gravity

of the potential wrongdoing – in addition to civil fines which could measure in the hundreds

of millions, Hemsley and Thompson, along with their colleagues, could face criminal

penalties of up to $5 million and up to 20 years imprisonment.

         243.246.    In addition to the potential insider trading, the Letter requested that the

SEC launch an investigation into the Company itself, citing “concerns about whether the
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[C]ompany has met the requirements of SEC’s” disclosure rules and whether the Company’s

“fail[ure]” to inform investors of the DOJ’s investigation in its Form 10-K for FY 2023 was

a violation of that duty.

                    Massive Data Breach Leads to Congressional Scrutiny of the
                    Upcoding Scheme

         244.247.         Following the massive security breach at Change that UnitedHealth

announced on February 22, 2024, the Company experienced heightened scrutiny from

lawmakers. Witty was called to testify before the House Energy and Commerce Committee

and the Senate Finance Committee on May 1, 2024. At both committee hearings, lawmakers

asked questions beyond the focus of the data breach and openly questioned UnitedHealth’s

ruthless business practices. For example, at the Senate hearing, Senator Elizabeth Warren

(D-Ma.) called UnitedHealth a “monopoly on steroids” that “will stop at nothing to get

bigger, bigger, and bigger.” Warren explained how UnitedHealth “bought up every link in

the healthcare chain” and was therefore “in a position to jack up prices, squeeze competitors,

hide revenues, and pressure doctors to put profits ahead of patients.” Warren specifically

called out UnitedHealth’s manipulation of the Medicare Advantage system and the

Company’s effort to “rake in more taxpayer money by using a practice called upcoding to

make enrollees look sicker.” She explained that upcoding meant “adding a diagnosis . . .

even if there’s no clinical basis for the diagnosis and no treatment planned,” and stated that

UnitedHealth had extracted $3.7 billion from the practice.




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                    Investigative Reports Confirm UnitedHealth Trained and
                    Pressured Doctors to Improperly Upcode Patients

         245.248.         STAT News released a two-part series called “Health Care’s Colossus,”

on July 25, 2024 and August 7, 2024, that expressly showed “how UnitedHealth Group

wields its unrivaled physician empire to boost its profits and expand its influence.” STAT

News said the reports were “based on interviews with more than two dozen current and

former UnitedHealth doctors and executives conducted over the past six months,”

conversations with “health policy experts and patients,” and examination of “court records,

and . . . UnitedHealth’s 600-page medical coding bible,” a 592-page book UnitedHealth

authored that taught insurers and their employees how to “‘capture’” more diagnoses.

         246.249.         The STAT News reports detailed how UnitedHealth encouraged its

90,000 affiliated physicians to add medical coding to generate more revenue, by

“encouraging clinicians through bonuses and performance reviews to identify more health

problems in patients, even if those conditions seemed dubious.” Doctors received hours of

training on how to document patients’ illnesses and increase payments from Medicare. One

doctor interviewed for the piece revealed that UnitedHealth managers made clear that “risk

scores could only go up, not down.” In STAT News’s words, UnitedHealth pressured

physicians “to treat patients as if they were fields of medical codes to be harvested, instead of

people who have complex histories.”

         247.250.         Additionally, the STAT News reports detail how UnitedHealth

encouraged providers to use QuantaFlo, a relatively new device, to screen patients for

peripheral artery disease, even if they did not report any symptoms. But the device was


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“backed by a slim body of evidence generated by its manufacturer” and “[c]leared in 2015

through a Food and Drug Administration pathway that requires limited clinical testing” and

only “cleared as a tool to aid clinicians in diagnosing [peripheral artery disease], but not as a

standalone diagnostic device.” Studies showed that the device gave false positives 10% of

the time, and accordingly “[e]xperts said that level of imprecision, combined with the small

sample size, makes it problematic for use in widespread screening because of the potential

that false positives could expose high numbers of patients to unnecessary care.”

         248.251.         Despite these limitations, UnitedHealth insisted that providers use the

device. Five separate physicians who were interviewed during the investigation explained

“the [C]ompany began to work around the doctors skeptical of the test, hiring nurse

practitioners to conduct the test at annual wellness visits.” As a result, UnitedHealth

“diagnosed Medicare Advantage patients with peripheral artery disease at almost four times

the rate of patients in traditional, government-run Medicare.” Ultimately, heading into 2024,

CMS decided to eliminate the diagnosis code for peripheral artery disease as a rate-

increasing diagnosis. The announcement caused an immediate reversal of coding trends.

The rate of testing and diagnosis in patients 50 and older more than doubled between 2018

and 2023 – from 7 per 100,000 patients to 14.7 per 100,000 – then fell to 9.6 in May 2024.

         252.       On October 16, 2024, STAT News published another investigative report about

UnitedHealth’s upcoding scheme, which it supported with internal Company documents and

emails, and more interviews with UnitedHealth doctors. STAT News described the “pressure

campaign” applied to doctors to generate additional diagnoses, particularly through “annual

wellness visits.” According to the report, UnitedHealth required remedial training for
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doctors who failed to upcode as frequently as UnitedHealth expected. As one doctor put it,

the system created an “‘inherent conflict of interest’” because “‘you’re incentivizing [doctors

to want] sicker patients, or at least sicker appearing on paper.’” The report described that

even during the height of the COVID-19 pandemic in late 2020, when deaths were surging

and no vaccine was available, UnitedHealth made Medicare Advantage home visits its

number one priority.

                    Investigative Reports Confirm UnitedHealth Used In-Home
                    Visits to Perpetrate the Upcoding Scheme and Improperly
                    Increase Medicare Advantage Profits

         249.253.        The WSJ issued two separate investigative reports providing the results

of an in-depth analysis on Medicare Advantage data from 2019-2021, concluding that

UnitedHealth and other insurers used upcoding to boost their Medicare Advantage profits.

The WSJ reports were entitled: “Insurers Pocketed $50 Billion From Medicare for Diseases

No Doctor Treated,” dated July 8, 2024 and “The One-Hour Nurse Visits That Let Insurers

Collect $15 Billion From Medicare,” dated August 4, 2024. The WSJ reviewed the Medicare

data under a research agreement with the federal government. The data demonstrates that

insurers, including UnitedHealth, targeted particular diagnoses they knew would increase

payments from Medicare Advantage, and identified UnitedHealth as the biggest abuser of

the system. Like STAT News, the WSJ reported that UnitedHealth instructed nurses to

diagnose peripheral artery disease based on the results of a QuantaFlo devise, which the

FDA has said “‘is not indicated for use as a stand-alone diagnostic device.’”

         250.254.        UnitedHealth also targeted AIDS and HIV diagnoses, according to the

WSJ report. The WSJ report found that most people with insurance-driven AIDS/HIV

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diagnoses likely did not have either disease, because they did not receive any commonplace

treatment for the conditions, such as antiviral medications. Indeed, 92% of patients who

received an HIV/AIDS diagnosis through normal channels took antiviral drugs, while only

17% of patients diagnosed by insurance companies took them.

         251.255.          These targeted diagnoses were deliberately added by UnitedHealth,

which paid employees to review medical charts in search of new diagnoses and sent nurses

to visit patients in their homes with an aim to tack on profitable diagnosis codes. The WSJ

reports show that UnitedHealth sent nurses to visit homes on behalf of the Company, and

were required to use software that automatically added diagnoses to a “‘diagnosis cart.’”

According to the reports, 60% of UnitedHealth in-home visits generated at least one new

revenue-producing diagnosis of a condition no doctor was treating, and generated $2,735 per

visit, on average.

         252.256.          The WSJ reports also described the tens of billions of dollars

UnitedHealth extracted from CMS, and taxpayers, as a result of its malfeasance, including

$8.7 billion in payments from insurer-driven diagnoses in 2021 alone, or more than half of

the $17 billion in profit UnitedHealth generated that year.

                    OIG Report Confirms UnitedHealth’s Upcoding Scheme
                    Continued Through 2023 and that the Company Was Paid
                    Billions in Improper Payments in 2023

         257.       The OIG was established by law in 1976 to fight waste, fraud and abuse and to

improve the efficiency of Medicare, Medicaid and more than 100 other Department of

Health & Human Services (HHS) programs. The OIG has approximately 1,600 personnel.

The majority of the agency's resources go towards the oversight of Medicare and Medicaid -

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programs that represent a significant part of the Federal budget and that affect this country's

most vulnerable citizens.

         258.       As detailed in the Federal Register / Vol. 83, No. 215, in furtherance of its

mission, the OIG:

                   conducts and supervises audits, investigations, evaluations, and inspections
                    relating to HHS programs and operations;

                   identifies systemic weaknesses giving rise to opportunities for fraud and abuse
                    in HHS programs and operations and makes recommendations to prevent their
                    recurrence;

                   leads and coordinates activities to prevent and detect fraud and abuse in HHS
                    programs and operations;

                   detects wrongdoers and abusers of HHS programs and beneficiaries so
                    appropriate remedies may be brought to bear, including imposing
                    administrative sanctions against providers of health care under Medicare and
                    Medicaid who commit certain prohibited acts; and

                   keeps the Secretary of Health and Human Services and Congress fully and
                    currently informed about problems and deficiencies in the administration of
                    HHS programs and operations and about the need for and progress of
                    corrective action.

         259.       In addition, OIG works with the Department of Justice (DOJ) to operate the

Health Care Fraud and Abuse Control Program.

         260.       As noted above, supra __, the OIG released a report in October 2024 that

shows how UnitedHealth manipulates the Medicare Advantage system at the expense of

vulnerable seniors and taxpayers. The report shows how UnitedHealth continued to utilize

in-home health risk assessments, and chart reviews based on those assessments, as a

mechanism to obtain billions in risk-adjusted payments in 2023 by diagnosing serious health

conditions that never received follow-up care. The OIG found that UnitedHealth received

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two-thirds of these suspicious payments in 2023, even though it covered only 28% of

Medicare Advantage members. The OIG’s findings raised concerns that UnitedHealth was

putting profits over patients by using in-home visits and HRA-linked chart reviews to

maximize payments instead of providing healthcare. Based on these concerns, for the first

time ever, the OIG recommended that CMS restrict or even cut off payments for diagnoses

obtained at in-home visits.

         261.       On October 24, 2024, the WSJ reported on the OIG report and included

additional commentary from OIG officials. According to the WSJ, the OIG’s assistant

inspector general for evaluation and inspections, stated: “‘We’re seeing that some Medicare

Advantage companies are making billions from the health risk assessment diagnoses without

providing care for the conditions that they identify’ . . . . That could mean some of the

diagnoses are false . . . . Or, if they are accurate, the insurers making them aren’t connecting

patients to the care they need, even as the companies are paid extra based on the supposed

cost of treating the conditions. ‘Profiting off enrollees’ medical conditions without

providing treatment for those conditions is wrong[] . . . .’”

         262.       The WSJ report also stated that UnitedHealth and other MA plans made

diagnoses at in-home visits without standard confirmatory testing, stating:

         The diagnoses that triggered home-visit payments documented in the OIG
         report were often for illnesses that might be difficult to confirm without a
         laboratory or other equipment. Two of the top diagnoses driving the payments
         were a form of rheumatoid arthritis, which might require lab work and X-rays
         to diagnose, along with secondary hyperaldosteronism, a condition that can be
         confirmed with blood work.




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Quoting the lead author of the OIG report, the WSJ report stated: “‘There are definitely

conditions where you might wonder, “‘Can they really, you know, identify that by a visit to

someone’s home?”’”

                    UnitedHealth’s Continued False Denials

         253.263.          On August 8, 2024, in response to the public scrutiny arising from the

WSJ reports, UnitedHealth released a public statement entitled: “UnitedHealth Group’s

Response to the Wall Street Journal.” In its response, UnitedHealth claimed to “[s]et[] the

record straight on HouseCalls, Medicare Advantage and the demonstrably superior health

outcomes and cost savings to more than 33 million American seniors each year.” Despite

these promises, UnitedHealth’s response relies exclusively on its own biased analyses and

fails to address many of the most concerning accusations from the WSJ and other sources.

         254.264.          For example, although UnitedHealth promises “[a] look at the real

numbers,” it actually exclusively relies on numbers from a report UnitedHealth itself

authored and paid for. Using these biased numbers alone, UnitedHealth concludes:

                   67.4% of patients with insurer-driven HIV/AIDS diagnoses were on antiviral
                    therapies (still significantly less than the 92% of patients with diagnoses from
                    providers); and

                   “[T]he government’s cost to fund Medicare Advantage is approximately 96%
                    of the cost to fund [fee-for-service] and provides $60 billion annually in
                    additional value through lower out-of-pocket costs and additional services.”

         255.265.          Importantly, UnitedHealth does not deny that in-home visits were

designed to add diagnoses and inflate UnitedHealth’s reported profits. Instead, without

providing a percentage, UnitedHealth claims: “The majority of diagnoses made during a

home visit do not result in increased Medicare Advantage (MA) risk adjustment payments.”

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The Company also does not deny that insurer-led diagnoses triggered more taxpayer-funded

payments, instead saying only “CMS has systems and processes in place to help ensure that

data submitted meets the established program rules” and citing “CMS audits” as the only

example. But UnitedHealth did not explain CMS is years behind on the auditing process,

and therefore none of the issues identified by the WSJ had yet been audited by CMS.

UnitedHealth also did not deny that it encouraged physicians to use QuantaFlo alone to

diagnose peripheral artery disease, resulting in false positives. Instead, it obfuscated further

asserting only that “QuantaFlo is an FDA-approved device” and “[p]eripheral artery disease

is underdiagnosed.”

         256.266.         Tellingly, UnitedHealth entirely ignored the specific allegations of

wrongdoing relating to improper upcoding detailed by various UnitedHealth doctors, as

reported by STAT News.

                    UnitedHealth’s Upcoding Scheme Is a Longstanding Practice
                    and UnitedHealthcare’s Former CEO Successfully Pressured
                    CMS

         257.267.         In January 2014, CMS proposed a draft regulation designed to address

insurers’ practice of upcoding Medicare Advantage patients to get higher payments from

CMS. The plan mandated that chart reviews “‘cannot be designed only to identify diagnoses

that would trigger additional payments’” and would have required health plans, when

examining patients’ medical records, to identify overpayments by CMS and refund them to

the government.

         258.268.         On August 6, 2024, the court in United States of America v.

UnitedHealth Group, Inc. et al., a whistleblower case joined by the DOJ covering the

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Medicare Advantage fraud, released previously withheld testimony and emails. The records

demonstrate that the proposed regulation caused an “‘uproar’” at UnitedHealth when CMS

proposed it.

         259.269.    Following the proposal of the regulation, UnitedHealth asked for and

received a meeting with CMS, which took place on April 29, 2014. The newly released

records show that Cheri Rice, then director of the CMS MA Plan payment group, testified at

her deposition in relation to the whistleblower suit that she was “‘very uncomfortable’” at the

meeting, and had to remind UnitedHealth that, even without the chart review rule, the

Company was obligated to make a good-faith effort to bill only for verified codes – or face

possible penalties under the False Claims Act.

         260.270.    The newly released records further show that UnitedHealthcare’s then-

CEO Steven Nelson personally emailed Rice on April 30, 2014, to confirm several points

that had been discussed during the April 29, 2014 meeting. Rice responded to Nelson’s

email on May 2, 2014, again reminding him that “‘regardless of the effective date of the

proposed requirement related to medical record reviews, there are other laws that do impose

standards, requirements and responsibilities on MA plans in connection with the federal

payments they receive from CMS.’” During her deposition, Rice testified that she was “very

concerned” and “alarmed” by Nelson’s email.

         261.271.    Rice further testified that CMS officials ultimately backed down and

abandoned the proposed regulation in May 2014 because of “‘stakeholder concern and

pushback.’” In other words, UnitedHealth’s pressure campaign worked.



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         LOSS CAUSATION

         262.272.    Defendants, as alleged herein, directly and proximately caused

Plaintiff’s and Class members’ economic loss. During the Class Period, Defendants made

false and misleading statements and omissions of material facts necessary to render those

statements not false or misleading. UnitedHealth’s common stock traded at artificially

inflated prices as a direct result of Defendants’ materially false and misleading statements,

and concealment of the relevant truth about UnitedHealth and Defendants’ fraudulent

scheme. Plaintiff and other Class members purchased UnitedHealth’s common stock at

artificially inflated prices and suffered damages when UnitedHealth’ stock price declined as

the relevant truth entered the market.

         263.273.    The artificial inflation in UnitedHealth’s common stock price was

dissipated by the February 27, 2024 WSJ article’s disclosure of the relevant truth concerning

the scope of the new DOJ antitrust investigation into UnitedHealth. See §IV.H, supra. The

resulting stock price decline upon release of this new truthful information, and related

increased risks, were due to Company-specific, fraud-related disclosures, and not a result of

market or industry. The February 27, 2024 disclosure may not be exhaustive because fact

and expert discovery have yet to commence.

         264.274.    As a result of the February 27, 2024 disclosure, UnitedHealth’s stock

price significantly declined, falling over $27 per share, from a close of $525.32 on February

26, 2024 to a close of $498.28 on February 28, 2024. See §IV.H, supra.

         265.275.    Financial analysts and market commentators recognized that the

February 27, 2024 WSJ report revealed new information and caused the stock price decline.

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According to a Bloomberg report titled: “UnitedHealth (UNH) Executives Sold Stock Before

US Probe Became Public,” “[s]hares of UnitedHealth fell 5.2% in two trading sessions on

Feb. 27-28, after the probe was widely reported in financial media.”

         266.276.      Similarly, Barron’s reported that “UnitedHealth Group stock fell

Wednesday [February 28, 2024], after a Wall Street Journal report said the Justice

Department has launched an antitrust investigation into the health insurer. UnitedHealth

stock was the worst performer in the S&P 500 and the Dow Jones Industrial Average on

Wednesday.”

         267.277.      Additional reports by financial analysts confirmed that the February 27,

2024 WSJ report revealed new information and caused the stock price decline. For example,

on February 27, 2024, after market close, Jefferies published a report: “UNH’s VBC Scale in

Certain Markets a Possible Target of Anti-Trust Probe.” Jefferies noted that: “Tuesday

afternoon [February 27, 2024], multiple news outlets reported the DOJ has launched an anti-

trust investigation into the relationship between UHC and Optum, including how acquisitions

affect competition.”

         268.278.      Also on February 27, 2024, after market close, financial analysts at

RBC Capital Markets published a report: “WSJ reports UNH is the target of DOJ anti-trust

investigation.” RBC Capital Markets noted that the WSJ reported “that DOJ is launching an

anti-trust investigation into UNH.”

         269.279.      On February 28, 2024, the WSJ published another article reporting that

UnitedHealth was down due to the DOJ probe revelations: “Shares of UnitedHealth fell

Wednesday morning [February 28, 2024], extending a retreat sparked late yesterday by news
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that the Justice Department has launched an antitrust investigation into the company.” On

February 28, 2024, at 2:40 ET, Cantor Fitzgerald attributed the stock drop to the WSJ: “The

stock traded down 7.6% vs SP500 (0.0%) since the [WSJ] article broke.”

         270.280.    Also on February 28, 2024, financial analysts at UBS published a

report: “Report of DOJ Antitrust Investigation into UNH Leads to Share Weakness.” The

report confirmed that: “UNH fell at the end of the trading day on February 27 following

reports that the U.S. Department of Justice has launched an antitrust investigation into

UnitedHealth Group (WSJ article). According to the article, investigators have been

interviewing doctor groups and asking about the relationship between UNH’s insurance

business and Optum. The inquiry is around how ownership of physician and health-plan

units affects competition, as well as Medicare billing issues.” UBS also connected the

antitrust probe to Optum and Medicare Advantage noting: “We believe Optum is a critical

player in driving a successful MA offering.”

         271.281.    On March 1, 2024, industry analyst AIS Health issued a report titled:

“DOJ to Test UnitedHealth’s ‘Firewall’ With Antitrust Probe,” that discussed the February

27, 2024 WSJ report and the scope of the DOJ’s new antitrust investigation into

UnitedHealth. The AIS Health report stated that federal regulators believe UnitedHealth’s

firewall between its payer and provider businesses “‘has a lot of holes.’” The report also

pointed out that the DOJ is examining UnitedHealth’s Medicare Advantage coding practices,

suggesting that owning both payer and provider assets may allow UnitedHealth to make

members appear sicker to increase profits.



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         272.282.          In sum, as detailed above, the decline described herein served to remove

artificial inflation from the price of UnitedHealth common stock, and was the direct and

foreseeable consequences of the revelation of the relevant truth concealed by Defendants.

         APPLICABILITY OF THE PRESUMPTION OF RELIANCE AND
         THE FRAUD-ON-THE-MARKET DOCTRINE

         273.283.          Plaintiff will rely, in part, upon the presumption of reliance established

by the fraud-on-the-market doctrine in that, among other things:

                   Defendants engaged in a scheme and made misrepresentations or failed to
                    disclose material facts during the Class Period;

                   Defendants’ scheme, misrepresentations, and omissions were material;

                   UnitedHealth common stock traded in an efficient market;

                   the Company’s common stock shares were liquid and traded with substantial
                    volume during the Class Period;

                   the Company’s common stock was traded on the NYSE and was covered by
                    multiple analysts;

                   the misrepresentations and omissions alleged would tend to induce a
                    reasonable investor to misjudge the value of the Company’s common stock;
                    and

                   Plaintiff and members of the Class purchased UnitedHealth common stock
                    between the time the Defendants failed to disclose or misrepresented material
                    facts and the time the true facts were disclosed, without knowledge of the
                    omitted or misrepresented facts.

         274.284.          Based upon the foregoing, Plaintiff and the members of the Class are

entitled to a presumption of reliance upon the integrity of the market.

         275.285.          Plaintiff and the members of the Class are also entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of Utah



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v. United States, 406 U.S. 128 (1972), as Defendants omitted material information in their

Class Period statements in violation of a duty to disclose such information, as detailed above.

         CLASS ACTION ALLEGATIONS

         276.286.     Plaintiff brings this action as a class action pursuant to Federal Rules of

Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased

UnitedHealth common stock during the Class Period (the “Class”) and were damaged

thereby. Excluded from the Class are Defendants herein and the officers and directors of the

Company, at all relevant times, members of their immediate families and their legal

representatives, heirs, successors, or assigns, and any entity in which Defendants have or had

a controlling interest.

         277.287.     The members of the Class are so numerous that joinder of all members

is impracticable. While the exact number of Class members is unknown to Plaintiff at this

time and can be ascertained only through appropriate discovery, Plaintiff believes that there

are thousands of members in the proposed Class. Record owners and other members of the

Class may be identified from records maintained by UnitedHealth or its transfer agent and

may be notified of the pendency of this action by mail, using the form of notice similar to

that customarily used in securities class actions.

         278.288.     Plaintiff’s claims are typical of the claims of the members of the Class

as all members of the Class are similarly affected by Defendants’ wrongful conduct in

violation of federal law that is complained of herein.




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         279.289.         Plaintiff will fairly and adequately protect the interests of the members

of the Class and has retained counsel competent and experienced in class and securities

litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Class.

         280.290.         Common questions of law and fact exist as to all members of the Class

and predominate over any questions solely affecting individual members of the Class.

Among the questions of law and fact common to the Class are:

                   whether the federal securities laws were violated by Defendants’ acts as
                    alleged herein;

                   whether Defendants engaged in a scheme or course of business that operated
                    as a fraud or deceit on investors;

                   whether statements made by Defendants to the investing public during the
                    Class Period misrepresented or omitted material facts about the business,
                    operations, and management of UnitedHealth;

                   whether Defendants caused UnitedHealth to issue false and misleading
                    statements during the Class Period;

                   whether Defendants acted knowingly or recklessly in issuing false and
                    misleading statements;

                   whether the prices of UnitedHealth common stock during the Class Period
                    were artificially inflated because of Defendants’ conduct complained of
                    herein; and

                   whether the members of the Class have sustained damages and, if so, what is
                    the proper measure of damages.

         281.291.         A class action is superior to other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is impracticable.

Furthermore, as the damages suffered by individual Class members may be relatively small,

the expense and burden of individual litigation make it impossible for members of the Class



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to individually redress the wrongs done to them. There will be no difficulty in the

management of this action as a class action.

         CLAIMS

                                               COUNT I
                    Violations of §10(b) of the Exchange Act and SEC Rule 10b-5
                          Promulgated Thereunder Against All Defendants
         282.292.          Plaintiff repeats and realleges each and every allegation above as if fully

set forth herein.

         283.293.          This Count is based upon §10(b) of the Exchange Act, 15 U.S.C.

§78j(b), and SEC Rule 10b-5 promulgated thereunder by the SEC. During the Class Period,

Defendants violated §10(b) of the Exchange Act and SEC Rule 10b-5 in that: (a) Defendants

employed devices, schemes, and artifices to defraud; (b) Defendants made untrue statements

of material facts or omitted to state material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading; or (c)

Defendants engaged in acts, practices, and a course of business that operated as a fraud or

deceit upon Plaintiff and the Class in connection with their purchase of UnitedHealth

common stock during the Class Period.

         284.294.          In furtherance of their scheme and wrongful course of business,

Defendants, and each of them, took the actions set forth herein.

         285.295.          During the Class Period, defendants UnitedHealth, Witty, Hemsley and

Thompson engaged in a scheme and wrongful course of business and disseminated or

approved the statements specified above, which they knew were false and misleading in that

they contained misrepresentations and/or failed to disclose material facts necessary to make
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the statements made, in light of the circumstances under which they were made, not

misleading. Defendants’ misconduct was intended to, and did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; (ii) artificially inflate

and maintain the market price of UnitedHealth securities; and (iii) cause Plaintiff and other

members of the Class to purchase or otherwise acquire UnitedHealth common stock at

artificially inflated prices.

         286.296.       As a direct and proximate result of the Defendants’ wrongful conduct,

Plaintiff and the other members of the Class suffered damages in connection with their

respective purchases of the Company’s common stock during the Class Period in that, in

reliance on the integrity of the market, they paid artificially inflated prices for UnitedHealth

common stock. Plaintiff and the Class would not have purchased UnitedHealth stock at the

prices they paid, or at all, if they had been aware that the market prices had been artificially

and falsely inflated by Defendants’ misleading statements. Upon the disclosure that the

Company had been disseminating false and misleading statements to the investing public,

Plaintiff and the other members of the Class suffered financial harm.

                                           COUNT II
               Violations of §20(a) of the Exchange Act Against All Defendants
         287.297.       Plaintiff repeats and realleges each and every allegation above as if fully

set forth herein.

         288.298.       During the Class Period, Defendants participated in and oversaw the

operation and management of UnitedHealth, and conducted and participated, directly and

indirectly, in the conduct of UnitedHealth’s business affairs. The Individual Defendants

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were able to, and did, control the contents of the various reports, press releases, codes of

conduct, and public filings which UnitedHealth disseminated in the marketplace during the

Class Period concerning its business and results of operations. Because of their senior

positions, they knew the adverse nonpublic information about UnitedHealth’s business as

alleged herein.

         289.299.    As officers and/or directors of a publicly owned company, the

Individual Defendants had a duty to disseminate accurate and truthful information with

respect to UnitedHealth’s financial condition and results of operations, and to correct

promptly any public statements issued by UnitedHealth which had become materially false

or misleading.

         290.300.    Each of the Individual Defendants acted as a controlling person of

UnitedHealth. By reason of their senior management positions and/or being a director of

UnitedHealth, each of the Individual Defendants had the power to direct the actions of, and

exercised the same to cause, UnitedHealth to engage in the unlawful acts and conduct

complained of herein. Each of the Defendants exercised control over UnitedHealth’s general

operations and possessed the power to control the specific activities which comprise the

primary violations about which Plaintiff and the other members of the Class complain.

Throughout the Class Period, the Individual Defendants exercised their power and authority

to cause UnitedHealth to engage in the wrongful acts complained of herein. Defendants,

therefore, were “controlling persons” of UnitedHealth within the meaning of §20(a) of the

Exchange Act.



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         291.301.      UnitedHealth had the power to control and influence Company officers

and other executives – including defendants Witty and Thompson – through its power to

hire, fire, supervise, and otherwise control the actions of its employees and their salaries,

bonuses, incentive compensation, and other employment considerations. By virtue of the

foregoing, UnitedHealth had the power to influence and control, and did influence and

control, directly or indirectly, the decision-making of defendants Witty and Thompson,

including the content of their public statements. UnitedHealth, therefore, was a “controlling

person” of defendants Witty and Thompson within the meaning of §20(a) of the Exchange

Act.

         292.302.      By reason of the above conduct, Defendants are liable pursuant to

§20(a) of the Exchange Act.

                                        COUNT III
                    For Violations of §20A of the Exchange Act Against
                                    Hemsley and Witty
         293.303.      Count III is brought pursuant to §20A of the Exchange Act against

Hemsley and Witty, on behalf of Plaintiffs and members of the Class who were damaged by

Hemsley’s and Witty’s insider trading. Plaintiff repeats and realleges every allegation above

as if fully set forth herein.

         294.304.      As detailed above, Hemsley possessed material, nonpublic information

when he sold his stock, and he took advantage of his possession of material, nonpublic

information regarding UnitedHealth to obtain over $211 million of insider trading proceeds

during the Class Period.


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               295.305.          As detailed above, Witty possessed material, nonpublic information

      when he sold his stock, and he took advantage of his possession of material, nonpublic

      information regarding UnitedHealth to obtain over $11 million of insider trading proceeds

      during the Class Period.

               296.306.          Plaintiff made the following purchases contemporaneously with

      Hemsley’s and Witty’s sales:

     Defendant Sales While in Possession of Material,
                                                                       Contemporaneous Purchases by CalPERS
                 Nonpublic Information
                                      # Shares     Sale                                       # Shares   Purchase
Defendant Seller     Date of Sale                                      Date of Purchase
                                         Sold      Price                                     Purchased     Price
 Andrew Witty       July 18, 2022      11,376     $527.90        →       July 19, 2022         36,001     $533.45
Stephen Hemsley     July 26, 2022       99,312    $534.27        →       July 28, 2022         49,782     $541.49
 Andrew Witty       July 19, 2023        4,000    $506.19        →       July 26, 2023          9,840     $508.00
                                                                                                 180      $536.65
                                                                 →                              1,787     $536.65
Stephen Hemsley       October 17, 2023     121,515    $540.58          October 17, 2023
                                                                                                3,809     $536.65
                                                                                                9,986     $536.65
Stephen Hemsley       December 5, 2023      66,081    $550.39    →    December 11, 2023        182,000    $543.68

               297.307.          As UnitedHealth’s top executives, Hemsley and Witty each owed a duty

      to UnitedHealth and its shareholders to maintain the material, nonpublic information in

      confidence and not trade on the basis of it.

               298.308.          By reason of the above conduct, Hemsley and Witty are liable pursuant

      to §20A of the Exchange Act.

                                             PRAYER FOR RELIEF
               WHEREFORE, Plaintiff demands judgment against Defendants as follows:

               A.         Determining that this action is a proper class action, and certify Plaintiff as a

      Class Representative under Rule 23 of the Federal Rules of Civil Procedure and appoint

      Robbins Geller Rudman & Dowd LLP as Class Counsel;

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         B.         Awarding compensatory damages in favor of Plaintiff and the other members

of the Class against all Defendants, jointly and severally, for all damages sustained as a

result of Defendants’ wrongdoing, in an amount to be proven at trial, including interest

thereon;

         C.         Awarding Plaintiff and the Class their reasonable costs and expenses incurred

in this action, including reasonable attorneys’ fees, accountants’ fees, and experts’ fees, and

other costs and disbursements; and

         D.         Awarding such other equitable relief, including disgorgement and/or injunctive

relief, that this Court may deem just and proper.

                                   DEMAND FOR JURY TRIAL
         Plaintiff hereby demands a trial by jury.

DATED: October 4November                  Respectfully submitted,
22, 2024
                                          SOMERMEYER SULLIVAN PLLC
                                          TIM SULLIVAN, MN 391528
                                          JAMES PORADEK, MN 290488 (OF COUNSEL)


                                                           s/ TIM SULLIVAN
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